 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Pagel 0173

  

United States Bankruptcy Court for the:

District of

Case number (//knawn):

Fili in this information to identify your case:

 

  

Chapter you are filing under:
Chapter 7
Cl Chapter 11

 

1" 1 23 5 3 HRT §:§::::::::

Official Form 101

 

n Chec; if this is an
amended filing

Voluntary Petition for individuals Filing for Bankruptcy 12/15

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone.

A married couple may file a bankruptcy case together-called a

joint case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in ali of the forrns.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m v ldentlfy ¥ourself

 

1. Your full name

Write the name that is on your
government-issued picture
identification (for exampie,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

About Debtor 1:

 

 

 

About Debtor 2 (Spouse Only in a Joint Case):
JOSEPH
First name First name
LEE
Middle name Middle name
FRAN KLIN
Last name Last name

suan (sr., Jr., n, m)

Suffix (Sr.. Jr., |i, |i|)

 

2. All other names you

 

 

 

 

 

 

 

identification number
(lTiN)

 

have used in the last 8 First name Fi,s, name
years
|nc|ude your married Or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of 8
__ _ - xx -
your Social Securlty Xxx XX -_3 --Q- -1-- _- XXX -_ _ -_ --
number or federal oR OR
individual Taxpa er
y 9xx-xx- 9xx-xx-

 

 

Oft'lciai Form 101

Voiuntary Petlt|or\ for individuals F|iing for Bankruptcy page 1

 

 

bCaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageZ 0173

JOSEPH L.

First Nnme Middle Name

Debtor 1

FRANKL|N

Lalt Neme

Case number (i/kn¢w")_

 

4. Any business names
and Emp|oyer
identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

E_iri'_

EI_N_

About Debtor 1:

2 i have not used any business names or E|Ns.

About Debtor 2 (8pouse only in a Joint Case):

n i have not used any business names or EiNs.

 

Business name

Business name

 

Business name

Business name

E_lr~i_

'ETN_

 

5. Where you live

6434 COOL MOUNTA|N DR

if Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street

COLORADO SPR|NGS CO 80923

City state z|P code City State Z|P Code
County County

lf your mailing address is different from the one
above, fill lt in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill lt in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Strest Number Street

F'.O. Box P.O. Box

City State Z|P Code City State ZiP Code
e. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

a Over the last 180 days before filing this petition, _

| have lived in this district longer than in any
other district.

n l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

cl Over the last 180 days before H|ing this petition,
| have lived in this district longer than in any
other district.

cl | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Offlcia| Form 101

Voluntary Petitlon for individuals Fliing for Bankruptcy

page 2

 

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageS 0173

 

 

 

Debtor 1 JOSEPH L FRAN KL| N Case number nlknown)
First Name Middle Nnme Lsst Name
m Tell the Court About Your Bankruptcy Case
1, The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividua/s Filing
Bankruptcy code you for Bankruptcy (Form 2010)). Also. go to the top of page 1 and check the appropriate box.
are choosing to file v
under Chapter 7

Cl Chapter 11
Cl chapter 12
n Chapter 13

 

a. How you will pay the fee ill l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
v local court for more details about how you may pay. Typica||y. if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address.

Cl l need to pay the fee in installments if you choose this option, sign and attach the
Application for lndividua/s to Pay The Filing Fee in installments (thcia| Form 103A).

a l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/ication to Have the
Chapter 7 Filing Fee Waived (Officia| Form 1038) and tile it with your petition.

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for 2 N°
» bankruptcy within the
last 8 years? n Ves. Dlstrict When Case number
MM / DD / VYYV
Dlstrict When Case number
MM/ DD / YYYY
District When Case number
MM / DD / YYYV
. 10. Are any bankruptcy 2 N°
1 cases pending or being
filed by a spouse who is n Yes. Debtor n Relationship to you
not filing this case with Distn`ct When _ Case number, if known
you, or by a business MM / DD /YYvY
partner, or by an
affiliate?
Debtor Re|ationship to you
Dlstrict When Case number, if known
MM / DD / YVYV
11- D° you rent Your n No. Go to line 12.
residen°e? a Yes. Has your landlord obtained an eviction judgment against you and do you want to stay |n your
residence?

n No. Go to line 12.

m Yes. Fi|| out initial Statement About an Eviction JudgmentAgainst You (Form 101A) and me it with
this bankruptcy petition.

Ochia| Form 101 Voiuntary Pet|tlon for individuals Filing for Bankruptcy page 3

 

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page4 0173

Debtor1 JOSEPH L- FRAN KL| N Case number (irkmmn)

F»rst Name Middle Name Last Name

myron About Any Buslnesses You Own as a $oie Proprietor

z 12. Are you a sole proprietor a No, G° to part 4_
of any fuli- or part-time
business? l:.l Ves. Name end location of business

 

A sole proprietorship is a
business you operate as an
individua|, and is not a
separate legal entity such as

acor oration, artnershi ,or
LLC. p p p Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

 

t° th's pet't'°"' city slate ziP code
Check the appropriate box to describe your business:
n Health Care Buslness (as defined in 11 U.S.C. § 101(27A))
a Sing|e Asset Rea| Estate (as defined in 11 U.S.C. § 101(51B))
l:l Stockbroker (as defined in 11 U.S.C. § 101(53A))
n Commodity Broker (as defined in 11 U.S.C. § 101(6))
n None of the above
: 13. Are you filing under lf you are Hling under Chapter 11, the court must know whether you are a small business debtor so that it
chapter 11 of the can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-How statement and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
n .
debra _ _ n No. l am not filing under Chapter 11.
For a definition of small
business debt°’- 599 cl No. l am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51|3)- the Bankruptcy Code.

m Yes. | am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

norm if You own or Have Any l»iazardous Property er Any Froperty That Needs immediate Attentien

 

14. Do you own or have any 2 No
property that poses or is '
alleged to pose a threat n Yes. What lS the halal'd?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State Z|P Code

Official Form 101 Voiuntary Petltion for individuals Filing for Bankruptcy page 4

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageB Ol73

Debtor1 JOSEPH L.

Flrst Name Middle Name

FRANKL|N

l.a$l NBmB

Case number (uknown)

mjxpialn Your Efforts to Recelve a Brlefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. |f you
cannot do so, you are not
eligible to file.

if you file anyway. the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 101

About Debtor 1:

You must check one:

g l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

Ci l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST Hle a copy of the certificate and payment
plan, if any.

l:i l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30~day temporary waiver
of the requirement.

To ask for a 30~day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it_ before you filed for
bankruptcy, and what exigent circumstances

’ required you to die this case.

Your case may be dismissed if the court is
dissatisned with your reasons for not receiving a
brienng before you filed for bankruptcy.

if the court ls satisfied with your reasons, you must
still receive a brienng within 30 days after you fi|e.
You must H|e a certificate from the approved
agency, along with a copy of the payment plan you
developed. if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is' limited to a maximum of 15
days.

n l am net required to receive e briefing about
credit counseling because of:

l;l lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

m Disability. My physical disability causes me
to be unable to participate in a
brienng in person, by phone, or
through the internet, even after l
reasonably tried to do so.

cl Actlve duty. l am currently on active.mi|itary
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Onlyin a Joint Case):

You must check one:

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

cl l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST Fi|e a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit e 30~day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case,

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briehng before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed.

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

l:l lncapaclty. l have a mental illness or a mental
dedciency that makes me
incapable of realizing or making
rational decisions about finances.

l;l Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even afteri
reasonably tried toydo so.

n Actlve duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must me a
motion for waiver of credit counseling with the couri.

Voiuntary Petit|on for individuals Filing for Bankruptcy page 5

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page€ Of73

Debtor1 JOSEPH L.

Flrst Name Middle Name

Part 6: Answer These Questlons for Reporting Purposes

FRANKL|N

L¢m Neme

Case number lillinown)

 

j io. what kind of debts do
you have?

16a. Are your debts primarily coh¢umer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a persona|, fami|y, or household purpose."

Cl No. cololino 16b.
a Yes. Go toiine 17.

16b. Are your debts primarily business debt$? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

n No. Go to line 16c.
Cl Yes. Goto lino 17.

\

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property ls

n No. l am not filing under Chapter 7. Go to line 18.

a Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and g N°
administrative expenses
are paid that funds will be cl Y°S
available for distribution
to unsecured creditors?
. 18. How many creditors do g 1-49 cl 1,000-5,000 a 25.001-50,000
you estimate that you 50-99 ill 5.001-10,000 El 50,001-100,000
°W°? El 100-199 Cl 10,001-25,000 Cl Moretnan loo,ooo
E] 200-999
§ 19. How much do you m $0-$50,000 Cl $1,000,001-$10 million U $500,000,001-$1 billion

estimate your assets to
be worth?

`20. How much do you
` estimate your liabilities
to be?

v For you

Officiai Form 101

E] $50,001-$100,000
Ei $100,001-$500,000
El $500.001-$1 million

Bl$o-sso,ooo

Ei $50,001-$100,000
Cl $100,001-$500.000
ill $500,001-$1 million

EJ sio,ooo,ool-sso million
Ci 550,000,001-$100 million
Cl sloo,ooo,ool-$soo million

El $1,000,001-$10 million

Cl $10,000,001-$50 million
Cl $50.000,001-$100 million
Cl 3100.000,001-$500 million

Ei $1,000.000,001~$10 billion
L`.i 510.000,000,001~$50 billion
n More than $50 billion

El $500,000,001.$1 billion

Cl s1,ooo,000,001.$10 billion
C| $10,000,000,001-$50 billion
El Moro than $50 billion

l have examined this petition, and l declare under penalty ofpenuw that the information provided is true and

correct.

|f l have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7. 11,12, or 13
of title 11, United States Code, l understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

|f no attorney represents me and l did not pay or agree to pay someone who ls not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false s
with a kruptcy case can r
18 U. .C. §152, 1341, 15

X

  

X

ent, concealing property, or obtaining money or property by fraud in connection
in fines up to $250,000, or imprisonment for up to 20 years, or both.

 

 

Sig aur of

Ex ute on

Voiuntary Pet|tion for individuals Filing for Bankruptcy

 
 

Executed on

Signature of Debtor 2

MM/ DD /YYYY

page 6

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page? Oi73

 

 

 

Debtor 1 JOSEPH L~ FRAN KL| N Case number (irl<nownl

First Name Middle Name Last Name
For you if you are filing this The law allows youl as an individua|, to represent yourself in bankruptcy court, but you
bankrupny WlthUf ah should understand that many people find it extremely difficult to represent
attorney themselves successfu||y. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
if you are represented by ‘
. an anomey, you do not To be successful, you must correctly file and handle your bankruptcy case, The rules are very

: need to file this pag¢_ technica|, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for aud|t. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to tile without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ru|es of
Bankruptcy Procedure, and the local rules of the court irl which your case is filed. You must also
be familiar with any state exemption laws that appiy.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No

a Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be Hned or imprisoned?

cl No

a Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
n No
Yes. Name of Person & n dm m al &On@:eo

Attach Bankruptcy Petifion Preparer's Notice, Dec/aration, and Signature (Ofticial Form 119).

 

By signing herel i acknowledge that i understand the risks involved in filing without an attorney. |
have read and understood this notice, and i am aware that filing a bankruptcy case without an
attorney may cause m se my rights or property if l do not properly handle the case.

x@ x

 

 

 

 

 

Signa?{ to©j/ Signature of Debtor 2
Date g q l 20 /b Date
MM/DD /YYY¥ MM/ DD/Y¥YY
Contact phone Contact phone
/ Cell phone l Cell phone
Emai| address Emai| address

 

 

Officiai Form 101 Voiuntary Petltlon for individuals Filing for Bankruptcy page 8

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page$ Of73

 

 

 

Certificate Number: l4426-CO-CC-026845950

||||||||l|l|||||||||||||||||||||||||||l||||||||||l||ll|||||||li|

l 4426-€()-€€-026 845950

CERTIFICATE OF COUNSELING

l CERTIFY that on Januarv 22, 2016, at 9:00 o'clock AM MST, ]oseph Franldin
received from ABC Arnerican Bankruptcy Counselors, an agency approved
pursuant to ll U.S.C. § ill to provide credit counseling in the District of

Colorado, an individual [or group] briefing that complied With the provisions of
11 U.S.C. §§ 109(h) and lll.

 

A debt repayment plan Was not prepared. If a debt repayment plan Was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session Was conducted by telephone

Date: Januarv 25, 2016 By: /s/Terry S. DWorkin

Name: Terry S. DWorkin

 

Title: Executive Director

* Individuals Who Wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file With the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment pl an, if any, deveioped through the
credit counseling agency. See ll U.S.C. §§ 109(h) and 521(b).

 

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageQ Of73

 
 

    

Fi|l in this information to identify your case:

 

Debtor1 JOSEPH LEE FRANKL|N

F|rst Name Middle Name Lacl Name

        
  

  
 

Debtor 2
(Spouse. if iiling) Firsi Name Middle Name

 

Leei Name

          
 
    

United States Bankruptcy Court for the: Dlstrict of

Case number
(if known)

 

n Check if this is an
amended niing

 

Officiai Form 107

 

Statement of Flnancial Affairs for individuals Filing for Bankruptcy 12/15

m
Be as complete and accurate as possible. lf two married people are filing together. both are equally responsible for supplying correct

information. |f more space is needed, attach a separate sheet to this form. Qn the top of any additional pages, write your name and case
number (if known). Answer every question.

Give details About Your Marltai Status and Where Vou Lived Before

1. What is your current marital status?

d Married
n Not married

2. Duri g the last 3 years, have you lived anywhere other than where you live now?
w No

E] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
g Same as Debtor 1 n Same as Debtor 1

é‘/z'»/ (@@i mw+a;»\ tr mm 51¢~7' w

From
Number Street

‘ Number Street
To a 314 ’/l]‘ (°/.Db To

 

 

 

foia/aov 60 QO?;Z

City State ZlP Code City State ZlP Code

 

cl Same as Debtor1 n Same as Debtor 1

ZQ/z game pf mm /li».,Zo/z

From
Number Street Number Street

To ;Jét 2,0`] 7 TO

 

 

 

 

/a’/Zr¢"$f §¢>,‘>)/§ 527 Q`c/`/§)

City d State ZlP Code City State ZlP Code

 

§ 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
" states and territories include Arizona, Ca|ifomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washingtonl and Wisconsin.)

MNo

n Yes. Make sure you fill out Schedule H.' Your Codebtors (Ofticia| Form 106H).

mjxplaln the tources of Your income

Officiai Form 107 Statement of Flnsncia| Affalrs for individuals Filing for Bankruptcy

 

 

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PagelO Of 73

JOSEPH

First Name

LEE

Middle Name

Debtor 1

FRANKL|N

bast Name

Case number (/rkm=wn)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fl|| in the total amount of income you received from all jobs and ali businesses, including part-time activities
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

n No
E Yes. r=iu in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31 ,2§)] 5 )
YYYY

For the calendar year before that:

(January 1 to December 31 ,2014 )
vaY

Sources of income
Check all that apply.

a Wages, commissionsl
bonuses, tips

n Operatlng a business

g Wages, commissions,
bonuses, tips

n Operating a business

n Wages, commissions,
bonuses, tips '

n Operating a business

Gross income

(before deductions and
exciuslons)

$.|_“1.391.33_

$ 52,999.00

Sources of income
Check all that apply.

n Wages, commissions,
bonuses, tips

a Operatlng a business

n Wages, commissions,
bonuses, tips

n Operatlng a business

 

Gross income

(before deductions and
exclusions)

 

$ 34,238.00

n Wages, commissions,
bonuses, tips

m Operatlnga business

 

5. Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxab|e. Examp|es of other Inccme are alimony; child support; Social Security,
unemploymentl and other public benefit payments; pensions; rental lncorne; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

a No
Cl Yes. Fiu in the details

 

From January 1 of current year until
the date you filed for bankruptcy:

Sources of income
Descrlbe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

Gross income from
each source

(l>efore deductions and
exclusions)

 

For last calendar year:

(January 1 to December 31,2£1_§__)
wYY

 

 

 

 

 

For the calendar year before that:
(January 1 to December 31,2014 )
. YYYY

Officiai Form 107

 

 

 

Statement of Financlal Affa|rs for individuals Filing for Bankruptcy

page 2

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Pagell Of 73

Debtor 1 JOSEPH LEE FRANKL|N Case number (,,,,,,aw,,,

First Name Middle Name Lasi Name

 

List Certain Payments You Made Before You Fiied for Bankruptcy

j 6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?
n No. Neither Debtor1 nor Debtor 2 has primarily consumer debte. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, famiiy, or household purpose."
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

n No. Go to line 7.

g Yes. List below each creditor to whom you paid a total of $6.225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. Also, do not include payments to an attorney for this bankruptcy case.

' Sub]ect to adjustment on 4/01/16 and every 3 years after that for cases Bled on or after the date of adjustment

n Yes. Debtor1 or Debtor 2 or both have primarily consumer debte.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

g No. Go to line 7.
n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case,

 

 

bates ot Total amount paid Amount you still owe Wa_s this payment for,..
payment
$ $ Mori a e v
Crediiors Name m g g
q Car
Number Street g Credit card

n Loan repayment

 

n Suppliers or vendors

 

 

 

 

 

 

 

 

 

city stare ziP code m Oiher
$ $ cl Mongage ?-
Creditofe Name §
m Car
Number Street n Ci'edlt card
n Loan repayment
n Suppllers or vendors
n Other
city stare ziP code
$ $ n Mortgage
Creditar’s Name
0 Car
n Credlt card

 

Number Street
0 i.oan repayment

 

0 Suppllers or vendors
0 Other

 

City State ZiF’ Code

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16J_OZ47255 PagelZ Of 73

Debm,i JOSEPH LEE FRANKL|N

Case number (irknowii)
First Name Middle Name Last Name

 

" 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
’ Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an oft”icer, director, person in oontrol, or owner of 20% or more of their voting securities; and any managing

agent, including orie for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

ENo

n Yes. List all payments to an lnsider.

 

 

 

 

 

 

 

 

 

Datee of Total amount Amount you'etill Reason for this payment
payment paid owe
$ $
insider's Name
Number Street
City State ZlP Code
$ $

 

|nslder’s Name

 

Number Street

 

 

City ` State ZlP Code

 

 

 

1 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
include payments on debts guaranteed or cosigned by an insider.

ENO

m Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

 

 

 

 

bates of Total amount Amount you still Reason for this payment
F°Y""°"t "°'d °‘*'° induce creditors name
$ $
insider's Name
Number Street
City State ZlP Code
$ $
lnsider's Name
Number Street
.Cify _.. , .\.A..S.f§i? Z'P C°d°

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PagelS Of 73

newa .iosEPH LEE

First Name Middo Name Llat Name

FRANKL|N

Case number (irimown)

 

identify Legal Actions, Repossessioris, and Foreclowres

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsult, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits. paternity actions, support or custody modihcations,
and contract disputes.

ill o
Yes. Fi|| in the detaiis.

 

 

 

 

 

 

 

 

 

Neture of the case Court or agency Status of the case
GARN|SHMENT §

z EL PASO COUNTY
CasetvaNvi=uNDiNGL.i_c §®mmm gpww@

zzmsTamNsT u°“”w

zNumber Street n Conc|uded
casenumber 2015€004390 §Coi_oRADo sPRi co 80901

:City State Z|P Code
Case title §C°un Name a Pending

: n On appeal

:Number Street n Conc|uded
Case number l

§city state ziP code

 

 

; 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check ali that apply and fill in the details beiow.

g No. Go to line 11.
n ¥es. Fil| in the information below.

Velue of the property

 

 

 

 

 

 

 

 

 

 

Describe the property Dete
$
Creditor’s Name
Number street Explain what happened
a Property was repossessed
n property was foreclosed.
n Property was garnished.
city siaie ziP code n Property was attached, seized, or |evied.
Describe the»property britev Vaiue of the property
$

 

 

Creditofs Name

 

 

 

Number S“eet Exp|aln what happened

Property was repossessed.

Property was foreclosed

Property was garnished.

Property was attached, seized, or ievied.

 

 

ciiy state ziP code

§UDDU

Ofnciai Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 5

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entei’ed:O3/30/16J_OZ47255 Pagel4 Of 73

Debtor1 JOSEPH LEE FRANKLIN Case number urlrnown)

First Name Middle Name Last Name

 

ij 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

gNo

Ei Yes. i=iii in the deraiis.

Descrlbe the action the creditor took Date action Amount
was taken

 

 

Creditofs Name

 

Number Street

 

 

 

 

City Ster ZlP Code Last 4 digits of account number: XXXX-_

, 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

cl No
n Yes

List Certain GIfts and Contrlbutions

 

13.Wlthin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than 3600 per person?

ENO

n Yes. Fi|i in the details for each gift.

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZlP Code
Person’s relationship to you
Glfts with a total value of more than $600 Describe the gifts Dates -you gave Value
per person ........... fm film
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZlP Code

 

 

Person's relationship to you

 

Officiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

 

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entei’ed:O3/30/16J_OZ47255 PagelB Oi 73

Debtor1 JOSEPH LEE FRANKL|N Case number (rrknawrr)

First Name Middle Name Last Name

 

14.Within 2 years before you died for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ZNo

cl Yes. Fi|i in the details for each gift or contribution.

 

 

Glfts or contributions to charities Describe what you contributed Date you Vaiue
that total more than $600 contributed
Charity's Name $
$

 

 

Number Street

 

 

 

City State ZlP Code

List Certaln Losses

.. 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

ENo

m Yes. Fii| in the detai|s.

 

Descrlhe the property you lost and Describe any insurance coverage for the loss Date of -y_our Value of property
how the loss occurred , _ ` l _ loss lost

include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Fraperty,

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

a No
Cl Yes. i=iii in the detaiis.

 

 

 

 

Descrlption and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid ,, M. mad°
Number Street ____ $
$ .

 

City State ZiP Code

 

Emaii or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

Officiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Pagel€ Of 73

 

 

 

 

 

 

 

Debtor1 JOSEPH LEE FRANKLiN Case number (,,kmwn,
First Name Middle Name Last Name
Descrlptlon and value of any property transferred vote payment or Amount of
` transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment. if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes. Fiii in the details

 

 

 

 

 

 

 

Descriptlon and value ot any property transferred Date payment or Amount of payment
transfer was' ~
made
Person Who Was Paid
Number Street $
$
City State ZlP Code

18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

MNO

El Yes. Fiii in the details

Descrlptlon end value of property Descrlbe any property or payments received Date transfer
transferred or debts paid in exchange ' was made

 

 

Person Who Reoeived Transfer

 

Number Street

 

 

City State ZlP Code

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

, `i city stats ziP code

 

Person's relationship to you

Officiai Form 107 Statement of Financiel Affairs for individuals Filing for Bankruptcy page 8

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Pagel? Of 73

JOSEPH

First Name

Debtor 1

LEE

Middle Name

FRANKLiN

Lest Name

Case number (/rl<nowni

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

ENo

n Yes. Fili in the details.

Name of trust

Descrlptlon and value of the property transferred

Date transfer
was made

 

 

 

 

 

 

MN°

Ei Yes. Fili in the details

Last 4 digits of account number

 

Name of Financial institution

_______-.-

 

Number Street

 

 

Clty State DP Code

Type of account or
instrument

C] checking

o Sav|ngs

cl Money market
a Brokerage

U other

Part 8: List ¢ortain Financial Accounts, lnstruments, into Beposlt lexos, and $torago Unlts

20. Within 1 year before you filed for bankruptcyl were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unlons,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Last balance before
closing or transfer

Date account was
ciosed, sold, moved,
or transferred

 

 

 

Name of Financial institution

_______

 

Number Street

 

 

city stats

ENo

n Yes. Fili in the details.

ZlF Code

Who else had access to it?

 

Name of Financial institution

C] checking

a Savlngs

n Money market
cl Brokerage

o other

Describe thecontents

 

 

Number Street

 

Number Street

 

 

City State Z|F Code

 

 

City State

Officiai Form 107

ZlF Code

Statement of Financial Affairs for individuals Filing for Bankruptcy

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Dc you still
_ have lt?

l:lNo
§UYes

page 9

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Pagel$ Of 73

Debtor1 JOSEPH LEE FRANKLiN

Case number (irlmdwn)
First Name Middle Name Lasi Name

22. lafave you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

n Yes. Fili in the detai|s.

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facliity Name m yes
Number Street Number Street

 

CityState ZlP Code

 

 

r.,§,l_fy sum ziP code

identify Property You l-lol¢l or Control for Son\eone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

MNo

Cl Yes. Fili in the details

 

Where ls the property? Describe the property Value

 

Owner’s Name s

 

“ '“ Street

 

Number Street

 

 

 

 

 

city state zlP odds

 

City State Z|F Code

m Givo Details About Envlronmental lnformatlon

: For the purpose of Part 10, the following definitions app|y:

 

 

, a Environmenfal law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

s Site means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, pollutant, contaminant, or similar term.

§ Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

l 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

ENo

n Yes. Fili in the detaiis.

 

Governmental unit Envlronmental law, if you know it Date of notice

 

 

 

 

 

 

 

Name of site Governmental unit
Number Street Number Street

City State ZlP Code
City State Zil'-' Code

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy _ page 10

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PagelQ Of 73

Debtor1 JOSEPH LEE FRANKL|N Case number (irknawn)

First Name Middle Name Lasl Name

 

 

v 25. Have you notified any governmental unit of any release of hazardous material?

a No
Ei ves. Fiii in the detaii¢.

 

 

 

 

 

 

 

 

 

Govemmentai unit Envlronmental law, |f you knew it Date of notice
Name of site Governrnental unit
Number Street Number Street
City State ZlF Code
City State ZlP Code
' 26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.
No

L'.l Yes. Fiii in the detaiis.

 

 

 

 

 

 

c°“"' °" W¢"l¢=¥ Nature of the case » » smu °f 'h‘
. > case
Case title l
Court Name n Pending
j n On appeal
Number str“t ; cl Conc|uded
Case number my sm. z|P c°d’

 

lee Detalls About Your luslness or donnectlons to Any Iuslnoss

 

f 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

cl No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature otthe business v Emp|oyer identification number
Do not include Social,Security number or lTlN.

 

 

Business Name

 

 

 

 

 

 

 

E|N __ _ - _______
Number Street
Name of accountant or bookkeeper Dates business existed
From To
C'*¥ ...... 3“" Z"’ °°d° .`
Describe the nature of the business Emp|oyer identification number

Do not include Social Securlty number or l11N.

 

 

Buslnsaa Name

 

 

 

 

t EiN:_______-___________________
Number Street '
Name of accountant or bookkeeper Dates business existed
From To

 

city auto zip code

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageZO Oi 73

Debtor1 JOSEPH LEE FRANKLiN

v Case number (irknawn)
First Name Middle Name Last Name

 

 

Emp|oyer identification number

Describe the nature of the business .
Do not include Social Securlty number or lTlN.

 

 

Business Name

 

 

N b st t
“"' "' '“ Name of accountant or bookkeeper Dates builn¢¥§ ¢Xl¥'f°d

 

 

 

 

From To
City State ZlP Code '

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

ENo

Cl Yes. Fili in the details beiow.

Date issued

 

Name m

 

Number Street

 

 

City State ZlF Code

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 15 , and 3571.

    

xsf.( re /of\>eii`_g}' 1 Signature of Debtor 2

 

 

Date Z/ q / ZO&pv Date
Did you attach additional pages to Your Statement of Flnanclal Affalrs for Indlvlduals Filing for Bankruptcy (Offlclai Form 107)?
cl No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

cl No
\E Yes. Name of person 3 ah dl`a m OL/(im ado . Attach the Bankruptcy Petition Preparer’s Natice,

Declaration, and Signature (Offlclai Form 119).

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page_Zl Oi 73

Fili in this information to identify your case:

Debtor1 JOSEPH LEE FRANKLiN

First Name Middle Name Lasl Name

Debtor 2
(Spouse, if filing) Firsi Name Middle Name Last Name

 

United States Bankruptcy Court for the: Dlstrict of

case number m Check if this is an
‘"k“°‘”"‘ amended filing

 

 

Officiai Form 1068um
Summary of Your Assets and Liabilities and certain Statistical information 12/15

m
Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. Fili out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

 

Your assets
Value of what you own

1. Schedule A/B.' Property (Officlal Form 106A/B)

 

1a. Copy line 55, Totai real estate, from Schedu/e A/B .......................................................................................................... 5
1b. Copy line 62, Totai personal propertyl from Schedule A/B ...................................... , ........................................................ $ 3,225-00
1<:. Copy line 63, Totai of all property on Schedule A/B ............. , ........................................................................................... s 3’225_00

 

 

 

m Summarize Your Liabilitlos

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (Ofiicia| Form 106D)
' 2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ 5

3. Schedule E/F: Creditors Who Have Unsecured Claims (Ofncial Form 106E/F)

 

 

 

 

 

 

 

3a Copy the total claims from Part 1 (priority unsecured claims) from line 6c of Schedule E/F ............................................ $
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + s
Your total liabilities $
Summarize Your income and Expenses
v 4. Schadule I: Your'lncome (Offlclai Form 106|') $ 3,030.00-
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... -__
5. Schedu/e J.' Your Expenses (Ofiicial Form 106J) 2 715 00
: Copy your monthly expenses from line 220 of Schedu/e J .................................................................................................... $ _______;__'_

 

 

Officiai Form 1068um Summary of Your Assets and Llabilitles and Certain Statist|cal information page 1 of 2

CaSe:16-12853-KHT DOC#:l Filed:03/29/16 Entered:03/30/1610:47:55 PageZZ Of 73
Debtor1 JOSEPH LEE FRAN KL|N Case number (irknowni

Firsi Name Middle Name Last Name

 

 

m Answer Theso Questions for Admlnlstrative and Statlstlcal Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
Yes

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fi|l out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

cl Your debts are not primarily consumer debts. You have nothing to report on this part of the fomi. Check this box and submit
this form to the court with your other schedules

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Officiai
Form 122A-1 i_ine 11; oR, Form 1223 Line 11; oR, Form 1220-1 Line 14. $ 3,030.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Totai claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 585-00
9b. Taxes and certain other debts you owe the government (Copy line 6h.) $

90. C|aims for death or personal injury while you were intoxicated (Copy line 60.) $

9d, Student loans. (Copy line 6f.) $

9e. Obligations arising out of a separation agreement or divorce that you dld not report as ' $

priority claims. (Copy line 69.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $
eg. Totai. Add iines 9a through 9f. $ 535 . 00

 

 

 

 

Officiai Form 1OBSum Summary of Vour Asscts and Liabliities and Certain Statistlcal information page 2 of 2

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageZS Oi 73

Fili in this information to identify your case and this filingv

Debtor1 JOSEPH LEE FRANKLiN

Flrsi Name Middle Name Last Name

 

Debtor 2
(Spouse, if iiiing) Flrst Name Middle Name List Name

 

United States Bankmptcy Court for the: Dlstrict of

Case number

 

L_.l Check if this is an
amended ming

 

 

Officiai Form 106A/B
Schedule AlB: Property 12/15

m
ln each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question, `

 

 

Describe Each Residence, Building, Land, or other Reai Estate you own or Have an interest in

 

»: 1. Do you own or have any legal or equitable interest in any residence, bullding, land, or similar property?

EI No. co to Part 2.
n Ves. Where is the property?

what is the property? Check an that app|y' Do not deduct secured claims or exemptions Put
cl Sing|e~family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

1,1. ._ . . . Creditors Who'Have Claims Secured by Property.
Street address, if available. or other description m Dup'ex er 'mu|t' unit bul|d":`g
m C°"d°m'"'“m °" °°°P°'at"/° `Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
n Land $ 5
m investment property
_ ij Timeshare Describe the nature of your ownership
City State zip Code cl Oth interest (such as fee simp|e, tenancy by
er the entireties, or a life estate), if known.
who has an interest in the property? check one.
n Debtor1 only
County n Debtor 2 only

0 Debtor1 and Debtor 2 on,y n Check if this is community property
n At least one of the debtors and another (See mstrucuons)
other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

what ls the property? Check an that app|y' Do not deduct secured claims or exemptions Put
m Sing|e-fami|y home the amount of any secured claims on Schedu/e D.'
' Credi’tors Who Have Claims Secuer by Property.

 

 

 

 

 

 

 

1.2. '_ - ~ ~

Street address, if availablel or other description n Dup|ex ?r,mum umt bu||d'r"g '
n COndoml"lUm O\’ cooperative Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property
a Timeshare _ Describe the nature of your ownership §

City State ZlP Code interest (such as ice slmpie, tenancy by
n Othe" the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

n Debtor 1 only

Ei Debtor 2 only

m Debtor1 and Debtor 2 Only a Check if this is community property

n At least one of the debtors and another (see insiructlons)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

 

Officiai Form 106A/B Schedu|e A/B: Property page 1

 

Debtor1 C@§§§F§quSBS-LMT Doc#iipzAM@d]:OS/ZQ/l€ Entere

 

 

d203/30/16 10247:55 PageZ4 Of 73

Case number (i/known)

 

who has an interest in the property? Check one,

Firsl Name Middle Name
3_3_ Make:
Mode|: cl Debtor1 only
0 Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3_4, Make:
Modei:
Year:
Approximate mileage:

Other information:

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

n Debtor1 and Debtor 2 only
l:l At least one of the debtors and another

L:l Check if this is community property (see
instructions)

Who has an interest in the property? Check ono.

n Debtor1 only

n Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

m Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured by Property.

 

Current value of the Current value of the §
entire property? portion you own?

Do not deduct secured claims or exemptions Put §
the amount of any secured claims on Schedule D:
Credl‘lors Who Have Claims Secured by Property. §

 

Current value of the Current value of the ‘:
entire property? portion you own?

Examp/es: Boats, trailers, motors, personal watercraft, fishing vesse|s, snowmobiles, motorcycle accessories

n No
n Yes

4_1, Make:
Modei:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4,2, Make:
Modei:
Year:

Other information:

 

 

 

Who has an interest in the property? Check one,
n Debtor1 only
n Debtor 2 only

n Debtor1 and Debtor 2 only
n At least one of the debtors and another

n Check if this ls community property (see
instructions)

Who has an interest in the property? checl_< ono.
m Debtor1 only

n Debtor 2 only

E] Debtor1 and oootor 2 only

l:l At least one of the debtors and another

Do not deduct secured claims or exemptions Pul
the amount of any secured claims on Schedule D:
Credltors Who Have Clalms Secured by property,

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put

the amount of'any secured claims on Schedule D:
Crle¢:litorsy Who Have Clalms Secured by Property.

 

Current value of the Current value of the ;
entire property? portion you own?

 

Cl Check if this is community property (see $ $
instructions)
: 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $
‘ you have attached for Part 2. Write that number here ........................................................................................................................ ')

 

Oflicial Form 106A/B

 

 

Schedule AlB: Property

page 3

 

bewa CH§['_:W_[lZSBS-Ll&|-E|T DOC#E§ANFR|EQZOS/ZQ/l€ Entered203/30/1610247255 PageZB Of 73

Case number (irknown)

 

Firsl Name Middle Name Last Name

Describe Your Personal and Household ltems

 

Current value of the
l portion you own?
De not deduct secured claims

Do you own or have any legal or equitable interest in any of the following_ltems?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or'é`xemptions.
6. Household goods and furnishings '
Examples: Major appliances, furniture, linens, china. kitchenware §
n No
Yes. Describe ......... COuCh. bed 3 350_00
1 7. Electronlcs
' Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
n No v
a Yes. Describe .......... tv $ 100.00 ‘
8. Co||ectib|es of value
l Examples: Antiques and `figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin. or baseball card collections; other collections, memorabi|ia. collectibles .
No .
L_.l Yes. Describe .......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic axercise, and other hobby equipment; blcyc|es, pool tables, golf ciubs, skis; canoes
and kayaks; carpentry tools; musical instruments
a No
n Ves. Describe .......... s
10. Flrearms l
' Examples: Pisto|s, rifles, shotguns, ammunition, and related equipment _ i
a No
n Yes. Describe .......... $
11. clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
cl No l _ _ . :
2 yes, Describe __________ sults, jeans, shirts, shoes, underwear, jacket $ 200,00
12.Jeweiry ;
` Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heir|oom jewelry, watches, gems,
gold, silver
a No
n Yes. Describe .......... ' $ §
13. Non-farm animals
l Examples: Dogs, cats, birds, horses
No
n Yes. Describe .......... $
14.Any other personal and household items you did not already list, including any health aids you did not l|st
a No
n Ves. Give specific $ x,
information. ............. ii
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $
§ for Part 3. Write that number here .................................................................................................................................................... ')

 

Oft”lcia| Form 106A/B Schedule AlB: Property _ page 4

 

' - ' ` ' : : : f73
Debtor1 Ca`§es§§}§jLZSBS iEEE' Doc#éRAwi&qNOS/ZQ/l€ Entered 03/30/16 10 47 55 PageZG 0

Case number (irknawni

 

 

 

 

 

 

 

 

 

 

 

 

Firat Name Middle Name Last Name
mbescribe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Curr¢nf Va|u¢ of the
portion you own? §
Do not deduct secured claims
or exemptions \
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you me your petition 5
a No
m Yes ................................................................................................................................................................ Cash: _______________________ $
,; 17. Deposits of money
Examples: Checking, savingsl or other tinancial accounts; certihcates of deposii; shares in credit unions, brokerage houses,
and other similar institutions, lf you have multiple accounts with the same institution, list each.
a NO g
q Yes ..................... institution name:
17.1. Checking account $
17.2. Checking account: $
17.3. Savings account $
17.4. Savings account $ §
17.5. Certincates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial accounts $
17.9. Other nnancial account: $

§ 18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

ENO §§

n Yes ................. institution or issuer name: §

 

 

 

1 19. Non-pubiic|y traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

No Name of entity: % of ownership:

n Yes. Give specific Q% % §
information about §
them ......................... 0% % §

0% %

 

 

 

Ofncia| Form 106A/B Schedule AlB: Property page 5

 

Q@@;,at,q-lzasa;g,gir Doc#,aAN§iigqi:oS/zo/le Eniered:03/30/1610:47:55 Pagez? of 73

Debtor 1 Case number iiiknown)

 

First Neme Middle Name Lest Name

" 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

ENo

m Yes. Give specific issuer hamel
information about
them ....................... $

 

 

 

 

§ 21. Retirement or pension accounts
Examples: interests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
n Yes. List each ,
account separateiy. Type of accounts institution name: :

401(k) or similar plan; $
Pension pian: $
|RA: $
Retirement account $
Keoth $
Additional account: $
Add|tional account $

" 22. Security deposits and prepayments §
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with iand|ords, prepaid rent, public utilities (electric, gas, water), telecommunications ;
companies, or others
a No
n Yes .......................... institution name or individual:

Eiectric: $
Gas; $
Heating oi|: $
Security deposit on rental unit: $ §
Prepaid rent: $ 1
Te|ephone: $
Water: $
Rented furniture: $
Other: $

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years) lt
No
g Yes .......................... issuer name and description:

$
$ ,

 

 

 

Officiai Form 106A/B Schedule AlB: property page 6

 

Debtor1 MHG-J_ZSBEEEHT DO%?§ALN|€|:_|||§GZOS/ZQ/l€ Entered203/30/1610247255 PageZS Of 73

Case number (irlmown)

 

Firsi Name Middle Name Last Name

 

§ 24.lnterests in an education lRA, in an account in a qualified ABLE program or under a qualified state tuition program.
26 u.s.c. §§ 530(b)(1), 529A(b), and 529(1))(1).

-No

n Yes """""""""""""""""" institution name and description. Separate|y file the records of any interests.11 U.S.C. § 521(c):

 

 

 

§ § 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

.No

n Yes. Give specific
information about them.... $

 

 

 

 

j 26. Patents, copyrights, trademarks, trade secrets. and other intellectual property
Examples: intemet domain names, websites, proceeds from royalties and licensing agreements

-No

n Yes. Give specinc
information about them.... $

 

 

 

 

 

5 27. Licenses, franchises, and other general intangibles
" Examples: Building permits, exclusive |icenses, cooperative association hoidings, liquor iicenses, professional licenses

.No §

 

 

 

 

 

cl Yes. Give specific §
information about them.... $
§ Money or property owed to you? § Current value of the

penton you own?
Do not deduct secured

 

 

 

 

 

claims or exemptions
28. Tax refunds owed to you
a No
n Yes. Give specific information Federa|:
about them, including whether ""'_"_'“_°_
you already filed the returns State:
and the tax years. .......................
Local:
§ 29. Family support
Examples:'Past due or lump sum aiimony, spousal support, child support, maintenance, divorce settiement, property settlement
No §
n Yes. Give specific information ..............
A|imony: $ §
Maintenance: $
Support: $
Dlvorce settlement
Property settlement

 

 

 

c 30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Securlty benefits; unpaid loans you made to someone else

-No
l

n Yes. Give specific information ...............

 

 

 

 

 

Ofiicial Form 106AIB Schedule AlB: Property page 7

 

Case number iiiinown)

 

Debtor1 C`RIJQS€E'E,§-12853[§|E-|T DOCJE'FQ_A|`§FK|{|_@,QZOJZQ/l€ Entei’ed:O3/30/1610247255 PageZQ Oi 73

Fiist Name Middle Name Last Name

 

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); creditl homeowner’s, or renter’s insurance

.No

n Yes. Name the insurance company

l _ _ Com an name: Beneficia : Surrenderorrefund value: §
of each policy and list its value.... p y ry

 

 

 

§ 32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

BNo

cl Yes. Give specific information ..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
" Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNO

n Yes. Describe each ciaim. ....................

 

 

 

 

_ 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
' to set off claims

BNo

n Yes. Describe each claim. ....................

 

 

 

 

; 35.Any financial assets you did not already list

ZNo

m Yes. Give specific information ............ _ s

 

 

 

 

1 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... ') $_______________

 

 

 

 

 

 

Describe Any Buslness-Related Property Voi.i own or Have an interest ln. List any real estate in Part 1. §

§ 37. Do you own or have any legal or equitable interest in any business-related property? _
' id No. co to Part 6. §
L_.] Yes. Go to line 38.

Current value of the
penton you own? . §

Do not deduct secured claims §
or exemptions

38.Accounts receivable or commissions you already earned

a No
L_.i Yes. Describe .......

§$__________.__

 

" 39. Office equipment, furnishings, and supplies
" Examples: Business-related computers, software, modeins, printers, copiers. tax machines, rugs, telephones, desks, chairs, electronic devices

a No
n Yes. Describe .......

 

 

 

 

Of&cia| Form 106A/B Schedule AlB: Property page 8

 

 

 

Debtor1 §6§%:|§1§-128531_-§1_:|T DOC#|%\NH_|WZOS/ZQ/l€ Entered203/30/1610247255

t Case number (/rimown)
First Name Middle Name Last Name

 

§ 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

MNQ

PageSO of 73

 

n Yes. Describe .......

 

<_ 41. inventory

 

No
n Yes. Describe .......

 

..~@M

 

42.lnterests in partnerships orjoint ventures

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g No §
m Yes. Describe ....... Name of entity: % of ownership:
% $
% $ §
% $_____________ §
43. Customer lists, mailing lists, or other compilations
§ a No
El Yes. no your lists include personain identifiable information (as defined in 11 u.s.c. § 101(41A))?
n No
n Yes. Describe........ l
$
44.Any business-related property you did not already list
y n No
n Yes. Give specific $ §
information ......... ' §
$
s___________;
s
$________§
$________;
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached s
for Part 5. Write that number here .................................................................................................................................................... ") _____

 

 

 

 

 

 

if you own or have an interest in farmland, list it in Part 1.

§ 46. Do you own or have any legal or equitable interest iri any farm~ or commercial fishing-related property?

g No. Go to Part 7.
cl Yes. Go to line 47.

§ 47. Farm animals
Examples: Livestock, poultry. farm-raised fish

UNo

Describe Any Farm- and Commerciai Fishing-Relatod Property You own or Have an interest ln.

Current value of the
portion you own?

§

Do_not deduct secured claims f‘

or exemptions

 

n Yes .........................

 

i

 

 

 

 

Officiai Form 106A/B Schedule AlB: Property

 

page 9

 

Case:16-12853-KHT DOC#; 1 |:i|ed_ 03
JOSEPH LEE FNRA KL|N /29/16 Enterci§ie: R§;§r%]£ 10: 47: 55

Fini Name Last Name

Debtor 1

 

Middle Name

48. Crops-either growing or harve¢ted

PageSl of 73

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
cl Yes. Give specific
`:' information ............. $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
n a No
g Yes ..........................
$___________
50. Farm and fishing supplies, chemicals, and feed
a No
"» n Yes ..........................
z $
é 51.Any farm- and commercial fishing-related property you did not already list
No
n ¥es. Give specific
information. ............ $ ;
52. Add the dollar value of all of your entries from Part 6. including any entries for pages you have attached $
for Part 6. Write that number here .................................................................................................................................................... 9 _____
mbeseribe All Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickels, country club membership
m No
n Yes, Give specific $
information. ............ $
$
`f_ 54. Add the dollar value of all of your entries from Part 7. Write that number here ........................................ '. ........................ 9 $
must the Totals of Each Part of this Form
55. Part 1: Totai real estate, line 2 ..............................................................................................................................................................
56. Part 2: Totai vehicles, line 5 $
57. Part 3: Totai personal and household items, line 15 $
58. Part 4: Totai financial assets, line 36 $
59. Part 5: Totai business-related property, line 45 $
60. Part 6: Totai farm- and flshing»related property,' line 52 $
ei. Pait 1: Totai other property not listod, lino 54 -i- $
f 62.Tota| personal property. Add lines 56 through 61. .................... $ Copy personal property total 9 ‘+ $

 

 

 

- 63.Totai of all property on Schedule AIB. Add line 55 + line 62 ..........................................................................................

 

 

 

 

$ _3!5[ :[

 

 

 

Officiai Form 106AlB Schedule A/B: Property

 

page 10

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Fi|e_d203/29/16 Entered203/30/1610247255 PageSZ Oi 73

Fili in this information iii identify your cases

JOSEPH LEE FRANKL|N

Flrst Name Middle Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if filing) Flm Name Middle Name Last Name

 

United States Bankruptcy Court for the: Dlstrict Of

Case number § n Check if ihiS iS an
("""°""") amended filing

 

Ochial Form 1060
Schedule C: The Property You Claim as Exempt wis

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Officia| Form 106AIB) as your source, list the property that you claim as exempt. |f more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

 

Fo'r each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory iimit. Some exemptions-such as those for health a|ds, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, |f you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
L:l You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Spe'clfic laws that allow exemption

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief ' ng "` /r`- fill 01 § ,_.,
description: VM/ 317/im z $ L"DD ' n $ -z-_-cco' T" ri
Line from a 100% of_fair market value, up to ~-
Schedu,e A/B_. any applicable statutory limit i£:zj

Brief edc/b /,,j L/' .7¢ l c'£ co
- - . L___L;L_/ 2 t f a 3@`
descnption. gm gsa itc 1 d ,'Hw> _________ $

Line from cl 100% of fair market value, up to [ 3 » § Lf ~_ /[, L<¢-k>

 

 

 

 

 

.s.°h.e‘.iu./? A./.Bt'.. , , . .. .. .. any applicable statutory limit
:;Iset:ription C/'?'H`“ A' § $ 2034 m $ l zw“ o`£/
: ---_-7-_-- _________
Line from m 100% of fair market value, up to s -l - ' ‘
any applicable statutory limit ` 9 / "7/ 1024 \ \ Qq' \

Schedule A/B:

3. Are you claiming a homestead exemption of more than $155,875?
(Subject to adjustment on 4/01/16 and every 3 years after that for cases n|ed on or after the date of adjustment.)
cl No
a Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

i:l No
Ci- Yes

Officiai Form 1060 Schedule C: The Property You Claim as Exempt page 1 of_

 

Debtor1 CR§§E.H§{J.ZSBSL|§HT DOC$§AQLQHZOS/ZQ/l€ Entei’

 

First Name Middle Name

Last Name

edZOS/SO/J_G 10247:55 PageSS Oi 73

Case number (irknawni

 

 

 

 

 

What is the property? Check all that app|y.
n Sing|e-family home

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims'.on Schedule D:

 

 

 

 

 

 

1-3- c dir wh H i '
Street address, if available, or other description n Dupiex or mu|tI-unit building re ors o ave C aims Secured by pmpeny'
n Condominlum or cooperative Current value of the Current value of the
n Manufaciured or mobile home entire property? portion you own? d
1 El Land $ $ 1
z n investment property
»' City State Z|p Code ij T|meshare Describe the nature of your ownership §
n interest (such as fee slmpie, tenancy by
Othe’ the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C t n Debtor1 only
oun y i;l Debtor 2 only
l:] comm-1 and Debtor 2 Only n Check if this is community property
n At least one of the debtors and another (See instruct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ........ . ..... ............. ..... . ..................................... ')

 

 

 

 

 

m Describe Your Vehicles

f Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
_\ you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

x

m No

E Yes

3,1, Make: VW
Modei: JETTA
Year: 2003

Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

3,2_ Make:
Modei:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check lt this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

i:l At least one of the debtors and another

cl Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

$ 2,500.00 $

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

 

Current value of the
portion you own? §

Current value of the
entire property?

 

 

 

Officiai Form 106AlB

Schedule AlB: property

page 2

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entei’ed:O3/30/16J_OZ47255 Page34 Oi 73

Debtor1 - JOSEPH

First Name ,Middin Name

Additionai rage

LEE FRANKLiN

Last Name

Case number (irimawm

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B.' _

Brief
description:

Line from
Schedule A/B: ""'_

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B: --_-

Brief
description:

Line from
Schedule A/B: "_

Brief
description:

Line from
Schedule A/B:>

Brief
description:

Line from
Schedule A/B: -_

Brief
description:

Line from
Schedule A/B: '_

Brief
description:

Line from
.Schedu/e_AlB,a..
Brief
description:

Line from
Schedule A/B: -_

Brief
description:

Line from
Schedule A/B.' _"'°"

Officiai Form 1060

portion you own

Copy the value from
Schedule A/B

Current value of the

Amount of the exemption you claim

Check only one box for each exemption

U$

El 100% affair market value, up to
any applicable statutory limit

U$

n 100% of fair market value, up to
any applicable statutory limit

Cl $
m 100% affair market value, up to
any applicable statutory limit

Cl $
m 100% affair market value, up to
any applicable statutory limit

Ci$

n 100% of fair market value, up to
any applicable statutory limit

D$

a 100% affair market value, up to
any applicable statutory limit

Ci$

n 100% of fair market value, up to
any applicable statutory limit

EJ $ __________
l:l 100% of fair market value, up to
any applicable statutory limit

U$

m 100% of fair market value, up to
any applicable statutory limit

U$

n 100% affair market value, up to
any applicable statutory limit

Spscific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

U$

l:l 100% of fair market value, up to
any applicable statutory limit

U$

l;l 100% affair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

 

 

page 2-__ of _

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16

Fili in this information in identify your i; . .;

Debtor1 JOSEPH LEE

FRANKLiN

First Name Middle Name Last Name

Debtor 2

 

(Spcuse. it tillng) Flm Name

United States Bankruptcy Court for the:

Middle Name Last Name

Dlstrict of

 

Entered:03/30/16 10:47:55 PageSB of 73

 

<i:i?::oci:;nber n Check if this is an
amended filing

 

Officiai Form 1060
Schedule D: Creditors Who Have Clairns Secured by Property 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
g No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
cl Yes. Fi|i' in all of the information below.

List All Secured Claims

\E|

2. List ali secured eialms. if a creditor has mora than one secured claim, list the creditor separately
for each claim. if more than one creditor has a particular cla|m, list the other creditors in Part 2
As much as possible, list the claims' in alphabetical order according to the creditors name.

 

Creditor's Name

Describe the property that secures the claim:

 

 

 

 

Number Street

 

 

 

 

 

City State ZlP Code

Who owes the debt? Check one,

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

U UUUU

Check if this claim relates to a
community debt

Date debt was incurred
2.2

 

Creditor's Name

As of the date you file, the claim is: Check all that apply.

cl Contingent

Cl unliquidated

n Disputed

Nature of ilen. Check all that apply.

n An agreement you made (such as mortgage or secured
car loan)

n Statutory lien (such as tax lien, mechanics lien)

n Judgment lien from a lawsuit

n Other (including a right to offsei)

Last 4 digits of account number

Describe the property that secures the claim: $

 

 

Number Street

 

 

 

 

 

city state ziP code

Who owes the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim relates to a
community debt

Date debt was incurred

 

As of the date you file, the claim is: Check all that apply.
n Contingent

cl Uniiquidated

o Disputed

Nature of lien. Check all that apply.

n An agreement you made (such as mortgage or secured
car loan)

n Statutmy lien (such as tax lien, mechanic‘s llen)

n Judgment lien from a lawsuit

n Other (including a right to offsel)

 

Last 4 digits of account number _

Add the dollar value of your entries in Column A on this pager Write that number here: |$'

 

Officiai Form 106D

 

 

Schedule D: Creditors Who Have Claims Secured by Property

 

page 1 of __

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageSG Oi 73

Fi|| in this information to iilmttiiv your r asa

 

 

 

 

mwa JosEPH LEE FRANKLiN
Flrst Name Middle Name Last Name
Debtor 2
(Spousa, if l'l|ing) Flisl Name Middle Name Last Name
United States Bankruptcy Court for the: Dislrict of
L'..l check if this is an
c(:,?::°c,:;“b°' amended filing

 

Officiai Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as poss|b|e. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY ciaims.
List the other party to any executory contracts or unexpired leases that could result in a cia|m. Aiso list executory contracts on Schedule
A/B: Property (Offlclai Form 106AIB) and on Schedule G: Executory Contracts and Unexplred Leases (offlcial Form 1066). Do not include any
credit rs with partially secured claims that are listed in Schedule D.' Creditors Who Have Claims Secured by Propeny. lf more space is

need d, copy the Part you need, fl|l it out, number the entries in the boxes on the left. Attach the Contlnuat|on Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

List All of`Your PR|OR|TY Unsecured claims

 

1. Do any creditors have priority unsecured claims against you?
U No. soto Pan 2.

_Cl Yes~t , . , ,\ , , ,

24 :t,.l_st¢aii itt-year privilty ,unse.c_u'reeclalins, ira,cre<litor-hasflitcre,thancite' rlutlty;_u`nsecuredcialm,'.',llsttn§q credit

v eachclalm;llti_f,ed.'~ldenlify whatty’p'e` of claim lt ls. ita clalm;has 'cth priority rion'i;tirleri_ty~amounts,,llstth ’ in

y 'nonprlorlty_amounts. As much as pcsslble, list the clal_ms._ln sip abetlca| order-accordingtothecreditor's.na _

‘,'j,uns'ecure, __ _____lms,» till out the ,'C,ontinuation Page'_ ot Fart"l: li~m_i_zire than one creditorjhold:s aipartlcular. claim~. list:the
" `(For'»a'n explanation of each type of claim, see the instructions for "thi'sf'ormln the instruction booklet.) '

  
 
 
 

 

 

 

 

 

 

 

 

 

 

 

2.1
Last4 digits of account number _ _ _ _ 3 5 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim ls: Check all that apply
city state ziP code a C°""“°°'“
El unliquidated
Who incurred the debt? Check one. a Di.put,ed
m Debtor1 only
n Debtor 2 Only Type of PR|OR|TY unsecured claim:
g Debtor1 end Debtor 2 only m Domestic support obligations
N least one of the debtors and another m Taxes and certain other debts you owe the government
n check if mls claim is f°' a °°mmumty debt Cl C|aims for death or personal injury while you were
ls the claim subject to offset? i"t°"i°‘“*d
[] N° m Other. Speclty
D Yes
2'2 l Last4 digits of account number _ _ _ _ 3 5 $

 

 

Prion'ty Creditors Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim ls: Check all that apply.
n Contingerlt

city state ziP code Ci unliquidated

Who incurred the debt? Check one. m Di’P“t°d

n Debtor1 only

Ci Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one ot the debtors and another

a Check if this claim is for a community debt

Type of PRiORi'l’Y unsecured clalm:

n Domestic support obligations

cl Taxes and certain other debts you owe the government
m Claims for death or personal injury while you were

 

intoxicated
is the claim subject to offset? El Other. Specify
n No
n Yes

 

 

 

Officiai Form 106E/F Schedule ElF: Creditors Who Have l.lnsecured Clalms page 1 of__

 

CaSe:16-12853-KHT DOC#:l Filed103/29/16 Entered:03/30/16 10147:55 PageS? Of 73
Debtor1 JoSEpH LEE FRANKLiN Case number timewni

First Name Midds Name Last Name
Your PR|OR|TY unsecured claims - continuation Fage
"Xfter.~iisting any entries on~this- page, number them beginning ;wlth;it.$,' followed by 2.'4, and so 'f`orth»'.

3 $ $ $

Last4 digits of account number __ ___ __ __

 

 

 

 

 

Prlority Creditors Name
When was the debt lncurred?

Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent

city state ziP code C| unliquidated

m Disputed
Who incurred the debt? Check one,

0 Debtor1 only Type of PR|OR|TY unsecured clalm:
0 Debtor 2 only

 

 

 

 

 

 

 

m l n Domestlc support obligations
Debtor 1 and Debwr 2 on y a Taxes and certain other debts you owe the government
n At least one of the debtors and another . . . .
n Clalms for death or personal injury while you were
n Check if this claim is for a community debt 'm°x'°at°d
n Other. Specify
ls the claim subject to offset?
_ a No
n Yes
Last4 digits of account number _ _ _ _ $ 5 $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ali that apply.
n Contingent
city state ziP code Cl unliquidated

n Disputed
Who incurred the debt? Check one.

U Debtor1 only Type of PR|OR|TY unsecured ciaim:
a Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Domestic support obligations
n Taxes and certain other debts you owe the government

n C|aims for death or personal injury while you were
intoxicated

Cl Check if this claim is for a community debt
n Other. Specify

 

ls the claim subject to offset?

 

 

 

 

 

 

n No
0 Yes
‘ Last4 digits of account number _ __ __ _ $ $ $
Priority Creditors Name
When was the debt lncurred?
Number Street
As of the date you fi|e, the claim is: Check all that apply.
n Contingent
city state ziP code E] unliquidated

n Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PR|QR|TY unsecured claim:
n Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

n Domeatic support obligations
a Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were

cl Check if this claim is for a community debt im°xi°at°d
n Other. Specify

 

 

ls the claim subject to offset?

Ci No
m Yes

 

 

 

Officiai Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _ of ___

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255

LEE

Middle Name

JOSEPH

Debtor 1 __
Flnt Name

FRANKLiN

Last Name

 

Case number (iri¢newn)

PageSS of 73

 

List All of ¥our NONPR|OR|T¥ Unsecured clai#\\s

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Do any creditors have nonpr|ority unsecured claims against :you?
ij No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes "
44 iilsfili}iif»»yeui neva§'i¢rity, unmqu claims iii-the airbai)etiiml/Pr;d?¢i.l¢fzth," '¢rediwr:wh¢hiolds each/'ciaim-if:a'* 'Zedi '“
l :nohprio`rity »uneecuredf'cl_'aim,. list.th'e creditor separately for each cialmt»F_or each claim listed,- identify what'~.type>of ciai ` _ f _ _ t j '
_ included in;,'P'ait.‘l'~_.' _»lf,yrr;iore than ~one‘ creditor holds a particular ciaim. list the other creditors in Part '3.lf you` have more than three nonpr|ori
`- , 'c|aims"fiil"outthe»Coniln'uation'Page of Part 2. ` ` ' '
. BARCLAYS DELAWARE Last4 digits of account number___5_ _l _4_ _8_ 5 447 00
Nonprlority Creditors Name $____.’_.__'..__._
125 S WEST ST When was the debt incurred? 06/30/2007
Number Street
W|LL|MlNGTON DE 19801
city state zip code As of the date you fi|e, the claim ls: Check ali that appiy.
a Contingent
Who incurred the debt? Check one, unliquidated
Debtor1 only D|sputed
ii l:i
0 Debtor 2 only
a Debtor1 and Debtor 2 only Type cf NONPR|OR|TY unsecured c|alm:
0 At least one of the debtors and another n Student loans
a check if this claim is for a communlty debt n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|8 the ¢ll\|m Sub]i!¢f 10 0"8¢¥7 m Debts to pension or profit‘sharing plans, and other similar debts
m N° g Other. Specify '
n Yes
-2 l ssr/sYNovus minimis of»ccountnumver _4 _9_ _§ _6 s__?£?_?£°_
Nonprlority creditors Name When was the debt incurred? 05/31/2006
PO BOX 3997
Number Street
ST JQSEpH MO 64503 As of the date you file, the claim is: Check all that apply.
City State ZlP Code m C°ntingem
Who lnt:urred the debt? Check one. q Unliquidated
m Debtor1 only m Di°p“t°d
Ci Debtorz only
L-_l mwa md Debwr 2 only Type of NONPR|OR|TY unsecured clalm:
L_.] At least one of the debtors and another cl Student loans
EJ ooli t' ‘i t f t' t d‘
D Check if this claim ls for a community debt thatgy::,°gi; 13 23ng ss ;r?::t;r;:;:greemen or Name
|5 the cia|m subject to offse¢? m Debts to pension or profit-sharing plansl and other similar debts
m No d Other. Specify
n Yes
4.3
| CAP|TAL ON E BANK USA Last4 digits of account number _6_ _4 __9 __9 1 670 00
Nonprlority Creditors Name when ms th d bt l d? 01/31/2009 $ l '
e e ncurr
15000 cAPlTAi. 0NE DR ° ---~
Number Street
RlCHMOND VA 2 2
Cky . State zlp::od?a As of the date you flie, the claim is: Check ali that appiy.
Who incurred the debt? check one. m c°"“n°°m
q Debtor 1 only d unliquidated
a Debtor 2 only m lampqu
n °°"‘°'1 °"°' °°”‘°' 2 °"" Type or NoNPRioRiTv unsecured eieim:
a At least one of the debtors and another
cl Student loans
0 Check if this claim ls for a community debt m Obligations arising out of a separation agreement or divorce
h the claim subject to offset? that you did not report as priority claims
q N° n Debts to pension or profit-sharing plans, and other similar debts
cl yes a Other. Specify

 

 

Ofiicial Form 106E/F

Schedule E/F: Creditors Who Have Unsecured C|alms

 

page _ of __

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageSQ Of 73

Debtor1 JOSEPH LEE FRANKL|N

stt Name Middle Name Last Name

Your NONPR|QR|T¥ Unsecured C|aims - Contlnuatlon Fage

Case number (irkiiawn)

 

 

 

 

'A`fter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name

PO BOX 64378

 

 

Number Street
SA|NT PAUL MN 55164
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

a Check if this claim is for a community debt
is the claim subject to offset?

d No
n Yes

 

4 4 4 7
LVNV FUND|NG LLC Last4 digits of account number __ __ ____ __ $_L§§Lm)_
Nonpriorlty Creditors Name 01/31/201 5
When was the debt incurred? _________
PO BOX 10497
Number Street
As of the date ou file the claim is: Check all that a l .
GREENvil_l_E sc 29603 y ' ""’
city state ziP code U contingent
q unliquidated
Who incurred the debt? Check one. m Disputed
a Debtor1 only
C] Debtor 2 only Type of NONPR|OR|TY unsecured claims
Cl Debtor1 end Debtorz only g Studenu°m
n At least one °f me debtors and another 0 Obligations arising out of a separation agreement or divorce that
. you did not report as priority claims
m check lf this claim la for a commumty debt n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? D oiher_ Specify
d No
Cl yes
‘ CHASE CARD Last4 digits of account number _4_ _1_ _8__ ___5_ 5 92.00
Nonprlority Creditors Name
When was the debt incurred? 12/31/2003
PO BOX 15298 ____
Number Street
' A fthdt f'i h lii:Chklitht i.
WlLM|NGTON DE 19850 so c aeyou ie,t ecam s ec a a appy
City State ZlP Code m Contingent
q Un|iquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
C] Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only 0 Student toans
At least °n° of the debtors and another a Ob|igations arising out of a separation agreement or divorce that
n Check if this claim ls for a community debt you d'd not report as pm_mty c',a'ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? L__| owen Specify
q No
n Yes
y | 7 5 3 $ 164.00
|C SYSTEM |NC Last4 digits of account number l ___ ____ ____

When was the debt incurred? 11/30/2015

As of the date you file, the claim is: Check ali that apply.

m Contingent
q unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

a Ob|lgations arising out of a separation agreement or divorce that
you d|d not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
EJ other specify

 

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured C|aims

page _ of _____

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255

LEE FRANKLiN

Middle Name

JOSEPH

Debtor 1
` Flrst Name

Last Name

Page40 of 73

Case number (lrknowm

Your NUNPRlORlTY Uns¢cured C|aims - Contlnuation Page

 

"ijtar'-i v

 

 

 

1

` g" anyaddictiontiil`t§¢§§ig¢f,:~number tmm:hegln'ning~wli,lt~'~..‘tj¢,-~tél'i§iiéti i»e,`;y

 

 

 

   

soforth ~. ' ’

 

 

 

 

 

 

 

 

 

COLORADO HEALTH MED|CAL GROUP

 

 

 

Nonpriority Creditors Name

5819 LOCKHEED AVE

Number Street

LOVELAND CO 80538
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Debtor 2 only

E] Debtor1 and Debtor 2 only

n At least one of the debtors and another

0 check lfthls claim ls for a community debt
ls the claim subject to offset?

d No
n Yes

 

CRED|T SYSTEMS |NC Last4 digits of account number _j_ Q_ __Q_ _3_ s 318_00
NthI'l°my Cf°dli°|"$ Name 07/3 0/201 0
Wh s the debt l cur d?
1485 GARDEN ol= THE cons RD °" "° " '°
Number Street .
COLORADO SPR|NGS CO 80907 As of the date you file, the claim ls. Check all that apply.
clty state zlP code El contingent
q Un|iquldated
Who incurred the debt? Check one. m Dlspmed
q Debtor 1 only
D Debtor 2 only Type of NONPR|QRITY unsecured claim:
0 Debtor1 and Debtor 2 only n Stud’nt loans
a A‘ |°°’t °n° °f th° debt°” and another m Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims
n check if this claim h for a community debt cl Debts to pension or profit-sharing plansl and other similar debts
ls the claim subject to offset? m Other. Specify
d No
n Yes
P|KES pEAK ENDOSCOPY Last 4 dlglts of account number _§__ l i_ _8_ s 719.00
Nonprlority Creditors Name
whenwa th d btl d? 10/07/2015
1699 MEchAl_ cENTER PT ‘ ° ° "°“"° ----
Number Street
COLORADO SPR|NGS CO 80907 As of the date you file, the claim is: Check all that apply.
city state zlP code El contingent
q unliquidated
Who incurred the debt? Check one. n Di.puted
q Debtor1 only
U Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At '°“t °"° °f the d°b‘°rs and another a Ob|lgations arising out of a separation agreement or divorce that
0 Check if this claim ls for a community debt you did not report as mem clf'“ms _ _
m Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? a owen Specify
q No
0 Yes
y | , 349.90

Last 4 digits of account number __3_ _Q_ _1_ _8_
When was the debt incurred?

As of the date you file, the claim ls: Check all that apply.

n Contlngent
U unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Ob|lgatlons arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit»sharing plans, and other similar debts
n Other. Specify

 

Ofiicia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured C|aims

page _ of _

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page4l Of 73

FRANKLiN

Last Name

LEE

Middle Name

JOSEPH

Fllst Name

Debtor 1

Case number (ilknown)

¥our NONPR|°R|TY Unsecured claims - Genttnuatlori Page

 

 

 

 

 

 

 

     
 

 

 

 

 

 

 

 

 

 

 

 

 

' ji`rtc zleting¥any"ontriesonthis»,:paoé;'~numl»er§them becl'rijiil`ngtitil`tri‘it~.it,¢t l . . . ,`;`andseicith.- » » z ` ` ` `
pORTFOL|O RECOVERY ASS Last4 digits of account number é_ _l_ l _5_ $__§M
Nonprlority Creditors Name 03/30/201 0
W th d bti d?
120 coRPERATE BLvD sTE 1 “°" ‘"“ ° ° "°""° ----
Number Street
l h l l : h k || th t l .
NORFOLK VA 23502 As of the date you f le,t e c a m is C ec a a appy
city State ZlP Code m Confi'ngenf
q unliquidated
Who incurred the debt? Check one. cl Disputed
a Debtor1 only
Ci Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtorz only ij Studenu°.n‘
A‘ l°“t °"° °f m° debt°“ and an°th°r m Obllgatlons arising out of a separation agreement or divorce that
Cl Check if this claim ls for a community debt you did not mem as pm,mty denno . .
m Debts to pension or profit-sharing plans, and other similar debts
lathe claim subject to offset? E] other. specify
No
m Yes
STELLAR RECOVERY |NC Last4 digits of account number _J_ 1 1 _2__ $___HLQ_Q_
Nonpriority Creditor‘a Name
1 0/31/201 5
1327 HWY 2 W When was the debt incurred?
N""‘°°' s"°°‘ As of th det iii th le' ' - ch lt ll tn t l
KAL|SFELL MT 59901 e e you e, e c im ls. ec a a app y.
City state zlP code Ci Contingent
q unliquidated
Who Incurred the debt? Check one. g Dispuwd
a Debtor1 only
Cl Debtorz only Type of NDNPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n student|°am
A' least °"° °f th° d°bt°r‘ and an°mer 0 Ob|igat|ons arising out of a separation agreement or divorce that
lJ check lf this claim le for a community debt ’°" d‘d “°‘ '°'_°°“ “ p"°'“y °"""‘
m Debts to pension or profit-sharing plans, and other similar debts
amc claim subject to offset? n gmc Specify
No
0 Yes
, | s 124.00
CRED|T SERV|CE |NC CO La$fl» digits of account number _Q__ _Z_ __5_ __3_
Nonprlority Cred|tor‘s Name
- 08/31/2013
p0 BOX 1120 When was the debt incurred?
N“'“°°' S"°°‘ As ftn d t r'l th l ' ' - li
COLORADO SPR|NGS 00 80901 o e a e you le, e c aim ls. Check a that apply.
city State ZlP Code m Contingent
q unliquidated
Who incurred the debt? Check one. n D|sputed
q Debtor1 only
m Debtor 2 only Type of NONPR|OR|TY unsecured claims
g ite|btortl and :)ehbtc;r 2 only m Student loans
°“ °n° o t ° emma and another a Obllgations arising out of a separation agreement or divorce that
L:l Check if this claim is for a community debt you d'd not report as pr|°my c|a'ms
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Oth,r‘ Specify
l q No
cl Yes

 

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Schedule ElF: Creditors Who Have Unsecured C|aims

page ___ of __

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255

FRANKLiN

Last Nl me

JOSEPH LEE

F|rst Name Middle Name

Debtor 1

¥our NGNFRlCRlTY Unsecured C|aims - continuation Page

 

 

 

`?)li`i:t iri"lietinq~eny:entries en»tiiie'.peg'e,~ number them*be§lnning~witn '4";4; followed-by 4.5`,.end ee.iortii_.

 

 

 

 

Case number (ilimown)

 

Page42 of 73

 

 

 

 

 

 

 

COLORADO HEALTH MED|CAL GROUP

 

 

 

Nonpn'ority Creditors Name

5819 LOCKHEED AVE

Number Street

LOVELAND CO 80538
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

Cl Debtor 2 only

Cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt
is the claim subject to offset?

d No
a Yes

 

Last 4 digits of account number _§__ _9_ __‘i__ _8_
When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.

a Contingent
q Uniiquidated
Ei Dlspu'ted

Type of NONPR|OR|T¥ unsecured claim:

Student loans

m Ob|igatlons arising out of a separation agreementh divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans. and other similar debts
m Other. Specify

 

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured C|aims

1 8
uvaERslTY oF col_oRADo HosPlTAL L“f‘d'@“’ °f“°°""f"“mbe' l l __ __ $M
Nonpnority Creditors Name wh th d bn d?
en was e e ncurre
5819 LOCKHEED AVE
Number Street
As of the date file, the claim is: Che k ll thata l .
LovEl_AND co 80538 ’°“ ° ° p" ’
City State ZlP Code n Contingent
U unliquidated
Who incurred the debt? Check one. m Dl,puted
a Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
0 Debtor 1 and Debtor 2 only m Student loans
m At '°a“ °n° °f tn° n°bt°" and nn°in°r o Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims
l
n check if this claim lt for a commun ty debt n Debts to pension or profit-sharing plans, and other similar debts
lathe claim subject to offset? U other. specify
d No
a Yes
‘ EDMONDS & LOGUE PC Ll$f4 dlglti of account number l _9_ l _§_ $ 21674.98
Nonprlority Creditor‘s Name h l ?
W n th d bt d
712A wl-l,g.LERs wAY BLDG A201 ° "“ ° ° "°“"‘
Number Street
f dt fil,h|ii:hkltht l.
FT COLL|NS CO 80525 Aso the aeyou c t ecam s C ec al a appy
guy State ZlP Code m Contingent
m Unl|quidated
Who incurred the debt? check one. m Dispu‘ed
q Debtor1 only
0 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
N least °n° °f ‘n° d°bt°r° and an°tner m Obllgations arising out of a separation agreement or divorce that
Ei check li this claim le for a community debt ’°“ d'd "°' '°'°°n “ pn‘_°n‘y °'f""" . ,
m Debts to pension or profit-sharing plans, and other similar debts
la the claim subject to offset? l._.l other, specify
q No
D Yes
| $ 349.90

page __ of _

 

CaSe:16-12853-KHT DoC#:l Filed:03/29/16 Entered:03/30/1610:47:55 Page43 of 73
Debtor1 JOSEpH LEE FRANKLiN Case number (irknewni

Flrat Nams Middle Name Last Name

List others to Bs Notified About a Debt That You Already Llsted

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor |n Paris 1 or
2, then list the collection agency here. Similar|y, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
STEPHAN|E JONES CCMCAST CORP on which entry in Part1 or Part 2 did you list the original crediicr?
Name
1701 JOHN F KENNEDY BLVD Line __ of (Check one): Cl Part 1: Creditors with Priority Unsecured C|aims
Number Street d Part 2: Creditors with Nonprlority Unsecured C|aims
Last 4 di its of account number 3 9 1 8
PH|LADELPHIA PA 19103 9 "* "' *"‘ “'*
z City State ZlP Code
l KAT|A CONRAD JOHNSON MARK LLC On which entry in Part1 or Part 2 did you list the original creditor?
' Name
po BOX 7811 Line of (Check one): Cl Part 1: Creditors with Priorlty Unsecured Claims
N“"‘°°' S"°°' q Part 2: Creditors with Nonprlority Unsecured
C|aims
S_ANDY UT 84091 Last 4 digits of account number l __9_ __1_ _8
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line ____ of (Check one): U Part 1: Creditors with Priority Unsecured Clalms
Number S"°°‘ Cl Part 2: Creditors with Nonprlority Unsecured
C|aims
Last 4 digits of account number_ _ _ ___
City State ZlF Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): n Part 1: Creditors with Prlority Unsecured C|aims
N“"‘°°' 5"°°* Cl Part 2: Creditors with Nonprlority Unsecured
C|aims
' Last 4 digits of account number_ _ _ _
City State Z|P Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Ci Part 1: Creditors with Priority Unsecured C|aims
N“'“b°' S""‘ El Part 2: creditors with Nonprlority unsecured
C|aims
Last 4 digits of account number____ __ __ __
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 11 Creditors with Priority Unsecured C|aims
N“"‘b°' S"°°* U Part 2: Creditors with Nonprlority Unsecured
C|aims
_ Last 4 digits of account number__ __ __ ___
City State Z|P Code
Name On which entry in Part1 or Part 2 did you list the original creditor?
Line of (Check one): Cl Part 1: Creditors with Prlority Unsecured C|aims
Number Street
Cl Part 2: Creditors with Nonprlority Unsecured
C|aims
Cky state z|p code Last 4 digits of account number ____ _ _ _

 

 

Officiai Form 106E/F Schedule EIF: Creditors Who Have Unsecured C|aims page _ of____

 

CaSe:16-12853-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page44 Of 73
Debtor1 JOSEPH LEE FRANKL|N Cllb flume (ifknownl

Flist Name Middle Name Last Name

mims the Amounts for Each Type of Unsecured Ciaim

 

 

 

 

 

 

e. Totai the amounts of certain types of unsecured claims. This information ls for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured c|alm.
Total’clalm
v Tdt:al:c|-aim* 6a. Domestlc support obligations 6a. s
;f~r,°m"P'a "' 11 6b. Taxes and certain other debts you owe the
government 6b. s
6c. C|aims for death or personal injury while you were
intoxicated 6c. $
Sd. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + s
6e. Tota|. Add lines 6a through 6d. 6e.
$
Totai claim
Tamc|,'a:»li.:n§ 6f. Student loans 6f. s
`fr°m'/F§r?t_`z' f 69. Obllgatlons arising out of a separation agreement
- ' or divorce that you did not report as priority
claims 69. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. s
` Bl. 0ther. Add all other nonpriority unsecured claims.
Write that amount here. 6|. + 3
` 61. Total. Add lines 6f through'6i. 61.
- $_LM&L_&&____

 

 

 

 

 

 

Oft”lcia| Form 1OSE/F Schedule E/F: Creditors Who Have Unsecured C|aims page __ of___

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Fi|€d203/29/16 Entered203/30/1610247255 Page45 Of 73

Fili ill tlliS information in id¢)niifv V(iiir l~,qc,p

JOSEPH LEE FRANKLiN

Debtor
Flrst Name Middle Name Last Name

Debtor 2
(Spouse li filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

<(:l?::°a:;nber Ei check if this is an
amended filing

 

 

 

Officiai Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15
Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
n No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
n Yes. Fili in ali of the information below even if the contracts or leases are listed on Schedule A/B: Property (Offlclai Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired |eases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
213 h f '” ` g t f LEASE oN RENTAL noile
............ LO~ /l<,/` >'lLo/\a wl g{~W-fp_ 7:@“,\4

Name '_ 6 .

erie »A-, ici i>w Ee:+ it 32 §
Number Street
@l@/ /+/> @<a~»~ns 60 Qo 010@\

City ’ State ZlP Code '
2.2§
....... Name

Number Street

City State ZlP Code
.2.3.'

Name

Number Street

City State ZlP Code
2.4§
,. Name

Number Street

§ City State ZlP Code

2.5§
.. . Name

Number Street

city state ' zlP code

 

Officiai Form 1066 Schedule G: Executorv Contracts and Unexpired Leases page 1 of

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entel’ed:O3/30/16]_OZ47255 Page46 Of 73
JOSEPH LEE FRANKLiN

Debtor1 Case number iir)rncwn)

First Name Middle Name

Ll$i NBmB

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the clalm: $ $
Creditor's Name
Number Street
As of the date you file, the claim ls: Check all that app|y.
a Contlngeni
city State ziP code Ei unliquidated
n Disputed
Who owes the debt? Check one. Nature of iien. check all that appiy.
a Debtor1 Oniy n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor 1 and Debtor 2 only a Statutory lien (such as tax |ien,_ mechanic's lien)
Cl At least one of the debtors and another cl Judgment lien from a lawsuit
' Ei other (including a right to client)
Ci check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number___ _ ____ __
.__| Describe the property that secures the claim: $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingeni
Ei unliquidated
City State ZlP Code 0 Dlsputed
who °w“ the debt? Check °n°' Nature of llen. Check all that apply.
n Debtor 1 only Ci An agreement you made (such as mortgage or secured
n DebiQf 2 Only car loan)
n Debtor 1 and Debtor 2 only n Statutory lien (such as tax lien,_mechanic's lien)
n At least one of the debtors and another El Judgment lien from a lawsuit
C] Check if this claim relates to a a Other (mdudmg a mgm w °"set)
community debt
Date debt was incurred Last 4 digits of account number _ _ _ ___
. Describe the property that secures the -clalm: $ $

 

Creditor's Name

 

 

 

Number Street

 

 

 

 

 

City State ZlP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

U UUUU

Check if this claim relates to a
community debt

Date debt was incurred

 

 

ibwbb writebtbatbnubmbcrbbere:

Add the dollar value of your entries in Co|umn A on this page. Write that number here:
lf this is the last page of your form, add the dollar value totals from all pages.

As of the date you file, the claim is: Check all that app|y.
n Contingent

n Un|iquidated

Ei Disputed

Nature of llen. Check all that apply.

n An agreement you made (such as mortgage or secured
car loan)

cl Statutory lien (such as tax ||en. mechanic's llen)

n Judgment lien from a lawsuit

D other (including a right to onset)

Last 4 digits of account number _

$

 

$

 

 

 

Officiai Form 1060

Additional Page of Schedule D: Creditors Who Have C|aims Secured by Property

page __ of

 

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mwa JOSEPH LEE FRANKLiN

First Name Middle Name Last Name

m List others to se Natlrled far a best That void All-satty lasted

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed ln Part1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else,_ list the creditor ln Part 1, and then list the collection agency here. Slmiiarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. |f you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

Case number ()rknawn)

On which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of account number _ _ _ _
Number Street
b city State zlP code
l On which line in Fart 1 did you enter the creditor?
'i Name Last 4 digits of account number _ _ _ _
Number Street
city state ziP cede
l On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _ _
Number Street
` City State ZlP Code
l On which line in Part 1 did you enter the creditor?
§ Name Last 4 digits of account number _ _ _ _
Number Street
city state ziP code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _ _
Number Street
§
§
City State ZlP Code
l l On which line in Part 1 did you enter the creditor?
` Name Last 4 digits of account number_ _ _ _
Number Street
f city state zlP code

 

 

Officiai Form 106D

Pari 2 of Schedule D: Creditors Who Have C|aims Secured by Property page

 

CaSe:16-12853-KHT DOC#:l Filed:03/29/16 Entered:03/30/1610:47:55 Page48 Of 73
JOSEPH LEE FRANKLiN Case number (inmdwn)

Firet Name Middle Name Last Name

Debtor 1

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease _ What the contract or lease is for

 

Name

 

Number Street

 

City State Z|P Code

 

Name

 

Number Street

 

City State ZiP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

t
(

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

§
z

Officiai Form 1066 Schedule G: Executorv Contracts and Unexpired Leases page of

City State ZiP Code

 

CaSe:16-12853-KHT DOC#ZJ_ Filed:O3/29/16 Eiitei’ed:O3/30/16J_OZ47255 Page49 Ol 73

      

Fill in this information to identify v'\llr renew

Debtor1 JOSEPH LEE FRANKLiN

Firsl Name Middle Name Last Name

 

Debtor 2
(Spo\|se, if flling) F|nt Name Middle Name Last Name

 

United States Bankruptcy Court for the: Dlstrict of

Case number

iii known) l;l Check if this is an
amended filing

 

Officiai Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)

a No
n Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Ca|ifomia, ldaho, Loulsiana, Nevada, New Mexico, Puertc Rlco, Texas, Wash|ngton, and Wlsconsin.)

n No. Go to line 3.
n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

§ DNO

cl Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse. fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Offlclai Form 1060), Schedule E/F (Offlclai Form 106E/F), or Schedule G (Offlclai Form 1066). Use Schedule Dl
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: ¥our codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3'1 Name 13 Schedule D, line _
El Schedule E/F, line _
Number Street El schedule G, line
city state zlP code
3.2
Name D schedule D, line _
Cl Schedule E/F, line _
N“""°°' S"°°‘ U Schedule G, line ___
City State ZlP Code
3.3 `
Name El Schedule D. line ____
l;l Schedule E/F,'line _
N“"‘b°' S"°°‘ n Schedule G, line ___
city Statew_bw ziP cada

 

 

 

Officiai Form 106H Schedule H: ¥our Codebtors page 1 cf

 

CaS€ZlG-lZSSS-KHT DOC#Z l Fil€d!OS/ZQ/l€
Debtor1 JOSEPH LEE FRANKL|N

Firli Name Middle Name Last Name

-Additlonal Page to List More Codebtors

Entered:03/30/16 10:47:55 PageBO of 73

Case number li/knewn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to'whom you owe the debt
Check all schedules that apply:
§
n Schedule D, line
Name
El schedule E/F, line
Number street L_.l Schedule G, line ____
k City State ZlP Code
el
Ci schedule D, line ___
Name
C] Schedule E/F, line
Number street Cl Schedule G, line ____
city state ziP cede
:-l
U Schedule D, line
Name
n Schedule E/F, line
Number street l:l Schedule G, line ____
, b City l State ZlP Code
:-l
[:l Schedule D, line
Name
D Schedule E/Fl line
Number street Cl Schedule G, line
City State ZlP Code
el »
N 0 Schedule D, line
ama
n Schedule E/F, line
Number street n Schedule G, line
City State ZlP Code
=‘~_-l
Name n Schedule D, line
Cl Schedule E/F, line
Number street n Schedule G, line
, city stele ziP code
?~_-l
Name U Schedule D, |lne
L'.l schedule E/F, line
Number street n Schedule G, line
City State ZlP Code
e_l
rim Cl schedule D, line ____
Cl schedule E/F, line
Number Street m SCheduie G, line
City State ZlP Code

 

Officiai Form 106H Schedule H: Your Codebtors page of

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageBl Oi 73

Fili in this information itt identify your c;ase;

Debtor1 JOSEPH LEE FRANKLiN

First Name Middle Name Lael Name

Debtor 2
(Spouse, if filing) Fintl Name Middle Name Leet Name

 

United States Bankruptcy Court for the: Disti'ict of

Case number Check if fhiS iSC
(if known) .
n An amended filing
n A supplement showing postpetition chapter 13
income as of the following date:

Officiai FOi`m 106| m

Schedule l: Your income l 12/15
Be as complete and accurate as possib|e. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing iointly, and your spouse ls living with you, include information about your spouse.

lf you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every questi.on.

- m Describe Emp|oyment

1. Fili in your employment v , v .
information. Debtor 1 Debtor 2 o_r non-filing spouse

 

 

if you have more than one jobl

attach a se arate a a with 1
infermetlcnpebcutgdgiticnai EmP'°¥m°"f°faf"$ n Emp|°yed n Emp|oyed
employers _ n Not employed m Not employed

include part-time, seasonal, or

lf- l d k.
Se em‘{°’° "°' occup,t,°n cusTolleR sEvacE
0ccupatlon may include student 4
or homemaker, if lt applies.

Emp|oyer's name COMCAST

Emp|oyer’¢ address 6024 CENTENN|AL BLVD

Number Street Number Street

 

 

 

 

CGLO SPR|NGS CO 80
city state ziP code city stale ziP code

How long employed there? 1 YR 4 MTS 1 YR 4 MTS

m Give Details About Monthly income

Estlmate monthly income as of the date you file this form, lf you have nothing to report for any line, write $O in the space. include your non-filing
spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. if you need more space, attach a separate sheet to this form,

Fcr center 1 Fer`oeizter 2 cr
non-filing spouse

 

2. List monthly gross wages, salary, and commissions(before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 4 600 00 $
3. Estlmate and list monthly overtime pay. 3. + $ + $
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 4,600-00 $

 

 

 

 

 

Officiai Form 106| Schedule l: Your income page 1

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entel’ed:O3/30/16J_OZ47255 PageBZ Oi 73

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 JOSEFH LEE FRANKL|N Case number (lil<newnl
Firsi Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
_llsn;fl.ll.nsi.§neiiss...
Copy line 4 here ............................................................................................... 9 4. $_4_;_600_-9_0 $
5. List ali payroll deductions:
5e. Tex, Medicarc, and social security deductions 5e. $_____Q_L_QQ $
5b. Mandatory contributions for retirement plans 5b. $ $
50. Voiuntary contributions for retirement plans 50. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
5f. Domestic support obligations 5f. $ $
59. Unlon dues 59, $_____ $
5h. other deductions specify; GARN|SHMENT 5h. + $ 585.00 + $
6. Add the payroll deductions Add lines 5a + 5b + 50 + 5d + 5a +5f + 59 + 5h. 6. $ $
§ 7. Calcuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1,570-00 $
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a. ______
8b. interest and dividends 8b. $ $
8e. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimonyl spousal support, child support, maintenance, divorce $ $
settlement, and’propeity settlement 80.
8d. Unempioymerlt compensation 8d. $ $
8e. Social Securlty 8e. $ $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non- -cash assistance
that you receive, such as food stamps (benet"its under the Supplementa|
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $__________ $
Bg. Pension or retirement income 89. $ $
8h. Other monthly income. Specify: . 8h. + $ + $
b 9. Add all other income. Add lines 82 + 8b + 8c + 8d + 6a + Bf +89 + Sh. 9. $ $
10. Calculate monthly income. Add line 7 + line 9. 3 030 0 _
Add the entries iri line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $-_'_'_O + $ " $ 3’030`00

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your househoid, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2~10 or amounts that are not available to pay expenses listed in Schedule J

 

 

Specify: 11. + $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation, if it applies 12. $M
Combined

monthly income
13` Do you expect an increase or decrease within the year after you file this form?

m No.
a Yes. Explain:

 

 

 

Oflicial Form 106| Schedule i: Your income page 2

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageBS Of 73

Fili in this infmm:~iti/~,n in identify V¢mr ¢vgq'p\

 

Debtor1 , Check if this is:

Firet Name Middle Name Last Name

Debtor 2 L'.`l An amended filing

_ _ n A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Dlstrict of expenses as of the following date:

 

(Spouse, if Gling) Firsi Name Middle Nama Last Name

Case number MM / DD/ YYYY
(if known)

 

 

official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as poss|b|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. is this a joint case?

 

g No. Go to line 2.
m Yes. Does Debtor 2 live in a separate household?

Cl No
0 Yes. Debtor 2 must file Officiai Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? a No z
Dependent's relationship to Dependent's c Does dependent live
Do not list Debtor 1 and g Yes. Fili out this information for Deb*°i 1 °' D‘b*°' 2 395 Wiih you?
Debtor 2. each dependent .......................... g
Do not state the dependents’ DAUGHTER 16 n No
names. ' Yes
DAuGi-lTER 10 5 N°
n Yes
n No
m Yes
n No
L._.l Yes
n No
cl Yes
3. Do your expenses include g No

expenses of people other than n
yourself and your dependents? Yes

m Estlmate Your ongoing Monthly Expenses

Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is f”iled. if this is a supplemental Schedule J, check the box at the top of the form and t"iil in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Officiai Form 106|.) Y°Wl expens“
4. The rental or home ownership expenses for your residence. include first mortgage payments and 850 00
any rent for the ground or lot. 4. $ `

if not included in line 4:

4a. Real estate taxes 4a. $
4b. Properiy, homeowner’s, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 7 4c. $ 25.00
4d. Homeowner’s association or condominium dues 4d. $

Officiai Form 106J Schedule J: Your Expenses page 1

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entei’ed:O3/30/16J_OZ47255 PageB4 Of 73

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Fim N!m° mm Name Lw Name Case number (inmawn)
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $
6. Utiiities:
6a. Electricity, heat, natural gas \ 63. $ 150.00
6b. Water, sewer` garbage collection \ 6b. $ 20.00
6c. Telephone, cell phone, lnternet, satellite, and cable services 6c. $ 150.00
ed. Other. Specify: 6d. $
7. Food and housekeeping supplies 7_ $ 350.00
6. Childcare and children’s education costs 8. $
9. Clothing, iaundry, and dry cleaning 9. $ 20-00
10. Personal care products and services 10. $
11. Medical and dental expenses 11. $ 30-00
12. Transportation. include gas, maintenance, bus or train fare. $ 160_00
Do not include car payments 12.
13. Enteitainment, ciubs, recreation, newspapers, magazines, and books 13. $_______2_50£
14. Charitab|e contributions and religious donations 14. $______§__O'L
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $
15b. Health insurance 15a. $
15c. Vehicle insurance 15c. $
15d. Other insurance. Specify: 15d. $
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $
17. installment or lease payments;
17a. Car payments for Vehicle 1 17a. $
17b. Car payments for Vehicle 2 17b. $
17c. Other. Specify: 17c. $
17<i. Other. Specify: 17d. $
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule l, Your Income (Officiai Form 108|). 18. $
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 585.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property - 20a. $
20b. Real estate taxes 20b. $
20c. Property, homeowner’s, or renter’s insurance 20c. $
20d. Maintenance, repair, and upkeep expenses 20d. $
20e. Homeowner's association or condominium dues b b b _20e. $

Officiai Form 106J Schedule J: Your Expenses page 2

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entei’ed:O3/30/16J_OZ47255 PageBB Of 73

Debtor 1 Case number (iflrnoml)
First Name Middle Name Last Name

21. Other. Specify: 21. +$

 

22. Caicu|ate your monthly expenses.

22a. Add lines 4 through 21. 22a $ 2,715.00
22b. Copy line 22 (montrlly expenses for Debtor 2), if any, from Officiai Form 106J-2 ` 22b. $ 2,715.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 2,715.00

 

 

 

23. Caicu|ate your monthly net income.

 

$ 3,030.00
23a. Copy line 12 (your comb/ned monthly income) from Schedule /. 23a. _______-
23b. Copy your monthly expenses from line 22c above. 23b. .. $ 2,715.00
23c. Subtract your monthly expenses from your monthly income. 31 5 00

The result is your monthly net income. 23c. $___-'_

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

m No.

E] Yes. Explain here:

 

 

 

 

Officiai Form 106J Schedule J: Your Expenses page 3

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Eiitei’ed:O3/30/16J_OZ47255 PageBG Of 73

Fili in this ilif<)i'vlaii'\:‘ ti~v iiic‘iliiiv vi,)lir ca'.`€.\;

Debtor 1

 

_Hr\t Name Mlotle Name
Debtor 2

 

(Sp°ue¢. |f Mlng) Fliat hine Midde Name

United States Bankruptcy Court for the:

Case number

Dlstrict of
(Stato)

 

(lf known)

 

C| check if this is an
amended filing

 

Officiai Form 1OSDec

 

hecla-ration About an individual Debtor’s Schedules wis

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud ln connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20
years, or both.18 U.S. C. §§ 152,1341,1519, and 3571.

- iign le|ow

 

§ Did you pay or agree to pay someone who is NQT an attorney to help you fill out bankruptcy forms?

cl
§ Yes. Name of personé@&df_@ m as ldc/l a do . Attach Bankruptcy Petilion Preparer's Natice, Declaratian, and

that they are true and c nect.

; /\.
§x\_iy.

§ Signa ' De 1 §
Mz Z§, §. n
§ DeteO LU/é

 

MM/ DD l YYYY

Signature (Officiai Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and

X

Signature of Debtor 2

Date
MM/ no / YYYY

 

Ofliclai Form 1060ec

Declaration About an individual Debtor’s Schedules

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 PageB? Of 73

Verification of Creditorv Address Mailing Matrix
Local Bankruptcy Form 1007-2.1

VERIFICATION OF CREDITOR ADDRESS MAILING MATRIX

The above named debtor hereby verifies under penalty of perjury that the attached
Creditor Address Mailing Matrix (list of creditors) is true and correct to the best of my

knowledge

Dated: L??’/"/ 71 /Z O/L By: - ,
Signath ` .
"/'» ~.>,,01/. %Ff»e/~ L trw

Prin`ted name of debtor

 

By:
Signature of joint-debtor

 

 

Printed name of joint-debtor

Home address
Telephonc number
Facsimile number
E-mail address

103

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 PageBS Of 73

 

Comcast Cable Communications Management LLC
One Comcast Center
Phi|adelphia, PA 19103

(c::om<:eist._c

 

 

 

 

Name : Franklin, Joseph Lee
§;resl;)l;rtli%ln§(l):ED f 53262368 Payroll Area: Cable West
' f Pay eriod : 02/28/2016 to 03/12/2016
§Xe?lc):tmrrls CO 3 (7)(7)08A31000 WDSS c 1 d Pa gate § 03/18/2016
°S en er ' ' ° °ra 0 A vice # : 1026236800121001

 

 

 

 

 

 

 
     
   

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§1,13`§“.04' 144.10“ 164.76- [35.43- ` 206.16- j §1,446.54

Bonus
Cash Award Bi-Weekl
Commission LB 80

580.33

Overtime 365.07
OT 72.60

*Overtime Premium . . 361.21
Premium 67.94

Shift

*T ABBR OT Premium . 61.14

*T ABBR OT Premium

T ABBR 5 123.33

'I` ABBR

T ABBR OT ll .

Vacation ABBR 435.59

Flex Pay ABBR 368.01

ABBR b 490.08

Medical

Dental

Vision

TOTAL PRE-TAX DEJ

Garnishment Creditor
Garnishment Admin Fee
Life lnsurance
Child Life Insurance
AD&D lnsurance
Life Ins
Supplemental AD&D Ins
Supp LTD 60%

Federa| Federa|

TX EE Social Tax 824.64-
TX EE Medicare Tax 192.86-
State Co|oiado

TX Withholding Tax 34].00-
ToTAL TAx`Es » § ' 1,358.50-

 

* Premium Hours not included in total Absence and Attendance Hours 1 of 3

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 PageBQ Of 73

 

Comcast Cab|e Communications Management LLC
One Comcast Center
Philadelphia, PA 19103

 

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Name : Franklin, Joseph Lee

§;resr?ll;)ltqizln§;ED z (1)3262368 Payroll Area: Cable West

Exemptions CO 00 Pay Beriod : 02/28/2016 to 03/12/2016
C°St Center § 7708“"31°0° WDSS ‘ C°l°rad° §aviceat¢e¢ § (1)3/21682/32£81(?0121001

 

 

 

 

 

 
   

 

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xxxxxx3889 1,371.54 Checking

 

 

 

* Premium Hours not included in total Absence and Attendance Hours 2 of 3

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 PageGO Of 73

 

Comcast Cable Communications Management LLC
One Comcast Center
Phi|ade|phia, PA 19103

 

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Name 1 Franklin, Joseph Lee

§;resr(r)lrl;ftlieoln§i;ED : (l)g%2368 Payroll _Area: Cabie West

Exemptions CO z 00 gay Berlod : g§%§§§g§g to 03/12/2016
' a ate :

Cost Center : 7708A31000 WDSS - Colorado A Vice # : 1026236800121001

 

 

 

 

 

 

Award Bi-Weekl 201526

Premium 201526

Premium 201526
Commission LB 201605
T ABBR OT Premium 201605
T ABBR OT 201605
T ABBR OT Premium 201605
'l` ABBR OT 201605

 

* Premium Hours not included in total Absence and Attendance Hours 3 of 3

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 Page€l Of 73

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Comcast Cable Communications Management U_C
One Comcast Center
Philadelphia, PA 19103

 

 

 

 

Name : Franklin, Joseph Lee

§§Iesr(r)l:ltliec)ln§(l;ED z (1)3262368 Payroll _Area: Cable West

Exemptions Co § 00 gay genod : g§z(l):ll;§g§g to 02/27/2016
f a ate :

Cost Center . 7708A31000 WDSS - Colorado A Vice # 1026236800100001

 

 

 

 

 

 

 
   

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2,017.51 0.00 164.76- 27.89- 224.03- 1,600.83

Bonus
A Bi-Weekl
Commission LB

Overtime
OT
Overtime Premium
Premium
Shift
*T ABBR O'i` Premium 20.11
*T ABBR OT Premium 7.05
'I` ABBR l 728.14
T ABBR OT 54. 77
Vacation ABBR . 194. 72
Flex Pay ABBR
ABBR

Medical

Dencal

Vision

TOTAL PRE-TAX DEJ

Garnishment Creditor
Garnishment Fee
Life Insurance
Child Life insurance
AD&D Insurance
Life los
AD&D Ins
LTD 60%

Federal Federal
'I`X EE Social Tax

TX EE Medicare Tax

State Colorado
TX Tax

Basic LTD 40%
Taxable GTL

 

* Premium Hours not included in total Absence and Attendance Hours 1 of 2

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 PageGZ Of 73

 

@omccist
Name : Franklin, Joseph Lee
Personnel No : 10262368
Exemptions FED : 00
Exemptions CO : 00
Cost Center : 7708A31000 WDSS - Colorado

 

 

 

 

Comcast Cable Communications Management LLC
One Comcast Center
Phi|adelphia, PA 19103

 

 

 

 

Payroll Area: Cable West

Pay Beriod : 02/14/2016 to 02/27/2016
Pa ate : 03/04/2016

A vice # : 1026236800100001

 

 

     

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* Premium Hours not included in total Absence and Attendance Hours

 

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CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/16 10247255 Page€3 Of 73

 

 

 

@omccistr

 

 

 

Name : Franklin, Joseph Lee
Personnel No : 10262368

Exemptions FED z 00

Exemptions CO : 00

Cost Center : 7708A31000 WDSS - Colorado

 

 

Comcast Cable Communications Management LLC
One Comcast Center
Philade|phia, PA 19103

 

 

 

 

 

Payroll Area: Cable West

Pay eriod : 01/31/2016 to 02/13/2016
Pa ate : 02/19/2016

A vice # : 1026236800094001

 

 

1,216.62

Bonus
Cash Award Bi-Weekl .90
Commission LB l 142.29

Overtime
OT
Overtime Premium
Premium
Shift
T ABBR OT Premium
T ABBR
T ABBR OT
Vacation ABBR
Flex ABBR
ABBR

Medical

Dental

Vision

YOTAL FE-TAX DE)

Garnishment Creditor

Gamishment Admin Fee
Life Insurance

Chiid Life Insurance
AD&D Insurance

Supplemental Life Ins

AD&D
LTD 60% _

Federal Federal
'l`X EE Social Security Tax

TX EE Mcdicare Tax

State Colorado
'I`X Wiihholding Tax

TOTAL TAXES §

Basic LTD 40%
Taxable GTL

* Premium Hours not included in total Absence and Attendance Hours

 

2,615.49

90. 00

l 142.29 3 852.24
89.04 076. 12
358.83

72.60

357.47

67.94

15.50
329.46

25.48
240.87
368.01
490.08

 

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Comcast Cable Communications Management LLC
‘ Comcast One Comcast Center
“ Philadeiphia, PA 19103
Name : Franklin, Joseph Lee
§;resrggrtl§)ln;q%ED § 53262368 Payroll _Area: Cable West
Exemptions CO 00 t Pay erlod : 01/31/2016 to 02/13/2016
Cost Center : 7708A31000 WDSS - Colorado ga Viceat§ ?(2)/21692/32§81(?0094001

 

 

 

 

 

 
   

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* Premium Hours not included in total Absence and Attendance Hours 2 of 3

 

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@omc:<:istis

 

Comcast Cable Communications Management LLC
One Comcast Center
Philade|phia, PA 19103

 

 

 

 

 

Name : Franklin, Joseph Lee

Personnel No : 10262368 Payron Area` Cable West

§;:$B§§g:: Y)D 33 Pay Beriod § 01/31/2016 to 02/13/2016
Cost Center : 7708A31000 WDSS - Colorado ga viceat¢e¢ %/21692/3260§€0094001

 

 

 

 

 

Cash Award Bi-Weekl 201525
Overtime 201525

Premium 201525
Commission 201603
Overtime Premium 201603
Overtime 201603
Overtime Premium 201603

Premium 201603

 

* Premium Hours not included in total Absence and Attendance Hours 3 of 3

 

 

 

Comcast Cable Communications Management LLC
One Comcast Center
Phi|adelphia, PA 19103

 

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Name z Franklin, Joseph Lee

li;;;sr?l?)rtliz)ln:kl)?ED (1)?)262368 Payroll _Area: Cable West

Exemptions CO ; 05 1I;ay ertlod : 35;(1);§§3§2 to 01/30/2016
_ a a e :

Cost Center . 7708A31000 WDSS - Colorado A vice # 1 1026236800082001

 

 

 

 

 

  
 
   
 

   

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90.00

Award Bi-Weekl
LB l .66
1 987.08
Overtime 358. 83
OT 72.60
*Overtime Premium 287.05

*Overtime Premium
Premium 67.94
Shiti

T ABBR OT Premium 15.50
T ABBR 747.36
T ABBR OT 25.48
Vacation ABBR 46. 15
Flex Pay ABBR 368.01
ABBR . 490.08

Medical 445.65-
Dental 31.38-
\_/ision b v 17.25-

l ' " ` ' ` ` »4'94.28-

Life Insurance 10.14-

Child Life Insurance 2.04-
AD&D Insurance 3.90-

Life Ins 25.65-

AD&D los 11.35-

LTD 60% 19.15-

Federal Federal
TX EE Social Tax
'l`X EE Medicare Tax

Basic LTD 40%
Taxable GTL

 

* Premium Hours not included in total Absence and Attendance Hours 1 of 2

 

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/1610247255 Page€7 Of 73

 

 

 

 

 

 

 

 

 

Comcast Cable Communications Management LLC
@Omcqst one comm center
Philadelphia, PA 19103

Name : Franklin, Joseph Lee
§;;S,;)lmt\§,ln§g]g]) j 03262368 ' Payroll Area: Cable West
Exemptions CO f 05 Pay eriod : 01/17/2016 to 01/30/2016

p : Pa are z 02/05/2016
Cost Center . 7708A31000 WDSS - Colorado A Vice # z 1026236800082001

 

 

 

 

 

 

   
 
   
 

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* Premium Hours not included in total Absence and Attendance Hours 2 of 2

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/1610247255 PageGS Of 73

 

Comcast Cable Communications Management LLC
One Comcast Center
Philade|phia, PA 19103

 

 

@omccist.,=

 

 

 

 

 

Name : Franklin, Joseph Lee
§::<resn(;r;l;rtli£:)lr1§I (1§`ED (1)3262368 Payroll Area: Cable West

Pay eriod : 01/03/2016 to 01/16/2016

Exemptions CO . .
Cost Center ; 7708A31000 WDSS - Colorado ga vican § ‘1)(1)/22622/3260§§0081001

 

 

 

 

 

 

 
   

me l §
2,152.05 1,194.70 164.76- 22.49- 243.58- 2,887.49

Cash Award Bi-Weekl
Commission LB . l 567.66
1 520.64
Overtime 203. 52
OT 72.60
*Overtime Premium 175.41

*Overtime Premium
* Premium . 67.94
Shift

*T ABBR 0'1` Premium . 15.50
Training ABBR . 130.82
T ABBR OT 25.48
Vacation ABBR 46.15
Flex ABBR 124.61
ABBR . _ l 295.36

Medical
Dental
Vision

TOTAL PRE-TAX DEJ

Spouse Life Insurance
Child Life Insurance
AD&D Insurance
Life Ins
AD&D Ins
Supp LTD 60%

Federal Federal
TX EE Social Tax
TX EE Medicare Tax

Basic LTD 40%

Taxable GTL

XXXXX0834 75.00 Checking
xxxxxx0738 2,812.49 Checking

 

* Premium Hours not included in total Absence and Attendance Hours 1 of 2

 

 

 

 

Comcast Cable Communications Management LLC
One Comcast Center
Philade|phia, PA 19103

 

 

 

 

@omccist¢

 

 

 

 

 

Name : Franklin, Joseph Lee

§;;Srgglgi%ln§gED : (1)3262368 Payroll Area: Cable West

Exemptions C() z 05 gay erlod : 3§;(2)§;§3§2 to 01/16/2016
j a ate :

Cost Center ' 7708A310°° WDSS ‘ C°‘°rad° A vice # : 1026236800081001

 

 

 

 

 

 

Cash Award Bi-Weekl 201526
201526

Overtime Premium 201526
Commission LB 201601
Regular Pay - Hourly 201601
Overtime 201 601
O'l` 201601
Overtime Premium 201601
Premium 201601

T ABBR OT Premium 201601
T ABBR OT 201601
Vacation ABBR 201601
ABBR 201601

 

* Premium Hours not included in total Absence and Attendance Hours 2 of 2

 

CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/1610247255 Page70 Of 73

32020 (Form 2020) (12/15)

United States Bankruptcy Court
Dlstrict of

In re How §§ §§ al ha 9 13 l.... Case Number
l Chapter *'§
sTATEMENT or MILtrAnY sERVIcE

The Servicemembers’ Civil Relief Act of2003, Pub. L. No. 108-189, provides for the temporary
suspension of certain judicial proceedings or transactions that may adversely affect military servicemembers, their
dependents, and others. Each party to a bankruptcy case who might be eligible for relief under the act should
complete this form and tile it with the Bankruptcy Court.

 

 

 

IDENTIFICATION OF SERVICEMEMBER
L`.i Self (Debtor, Codebtor, Creditor, Other)
Ci Non-Filing Spouse of Debtor (name)

 

 

 

 

L'.l Other (Name of servicemember)
(Relationship of tiler to servicemember)
(Type of liability)

TYPE OF MILITARY SERVICE

U.S. Armed Forces (Army, Navy, Air Force, Marine Corps, or Coast Guard) or commissioned officer
of the Public Health Service or the National Oceanic and Atmospheric Administration (specify type

 

 

 

 

 

 

 

 

 

 

 

 

of service) /3“/1 /Vl al

D Active Service since 1 (date)

E] Inductee - ordered to report on (date)
Retired / Discharged /\/i .el'§ \ 0\ 4 t (date)

U.S. Military Reserves and National Guard

Cl Active Service since (date)

D Impending_Active Service -orders postmarked (date)

Ordered to report on (date)

|.'.i Retired /Discharged (date)

U.S. Citizen Serving With U.S. ally in war or military action (specify ally and war or action)

El Active Service since (date)

Cl Retired/Discharged (date)

DEPLoYMENT '

Ci Servicemember deployed overseas on (date)
Anticipated completion of overseas tour-of-duty (date)

 

S
U:m §§/2 if /20 [L
/%a,§i retire D”°

(priMame)

 

 

This statement is for information use only, Filing this statement with the Bankruptcy Court does not constitute an application for
or invoke the benefits and relief available under the Servicemembers ’ Civil Relief Act of 2003.

 

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CaSe:16-12853-KHT DOC#ZJ_ FiledZO3/29/16 Entered:O3/30/1610247255 Page7l Of 73

Cover Sheet for Petition
L.B.F. 1002~1.1

Check Applicabie Boxes to Show All Documents Attached

 

Name of debtor(s): [ ] Attorney (firrn name address tclc
§ , , phone, and
Weni<\m, :Bsep\'\ L- registration number):

[\/l No attorney (“pro se”) (home address, telephone):

 

 

 

 

Filing fee (revised per directive of the Judicial Con"ference of the United States):

[ ] $335 for chapter 7

$1,717 for chapter ll

$275 for chapter 12

$310 for chapter 13

Other fee paid: $ . Enter amount AND attach applicable application under Fed.
R. Bankr. P. 1006 to pay in installments or pursuant to 28 U.S.C. § 1930(t) (if applicable).

 

[
[
l
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Individu.ai and business debror(s) except as otherwise noted):

[\/l Voluntary Petition for Individuals Filing for Bankruptcy, Officiai Form 101, or Voluntary
Petition for Non-Individuals Filing for Bankruptcy, Officiai Form 201

[¢/] Your Statement of Financial Affairs for Individuals Filing for Bankruptcy, Officiai Form
107, or Statement of Financial Affairs for Ncn-Individuals Filing for Banlo'uptcy, Ochial
Form 207

[Jl Summary of Your Assets and Liabilities and Certain Statistical lnformation , Official Form

' lOGSum, or Summary ofAssets and Liabilitics for Non-Individuals, Officiai Form 206Sum

[\/] Schedules A-J - Official Forms 106A/B, 106C, 106D, 106E/F, 106G, 106H, 106I and
106J forIndividuals, or Officiai Forms 206A/B, 106D, 106E/F, 106G, 106H, 106I and
106J for Non-Individuals

[\/] Declaration About an Individual Debtor’s Schedules, Official Form 106Dec, or
Declaration Under Penalty of Pcrjury for Non~Individual Debtors, Official Form 202

[/] Bankruptcy Petition Preparcr’s Natice, Dcclaration, and Signature, Officiai Form 119,
(submittcd only if debtor(s) used the services cfa bankruptcy petition preparer)

[~./] For each individual debtor, copies of all payment advices, paycheck stubs, or other
evidence of all salary, commissions or income received within 60 days before the
bankruptcy case was filed, copied on 8 ‘/z by 11 paper with the debtor’s first and last name
printed on top of each page (and bankruptcy case number, if a number has been assigned);
OR, as applicable, complete L.B. Form 1007~6.1 (“Statcment Under Pcnalty of Perjury
Concerning Payment Advices”) for each debtor,

[ ] A record of any interest in an education individual retirement account (“[RA”) (26 U.S.C.
§ 530(b)(1)) or qualified state tuition program (26 U.S.C. § 529(b)(1) plans).

 

 

 

 

 

CaSe:lG-lZSBS-KHT DOC#ZJ_ Filed203/29/16 Entered203/30/1610247255 Page72 Of 73

 

[ ] Attorney's Disclosure of Compensation - Director’s Form 203 (Form 2030)
[\/] Verification of Creditors’ Matrix - L.B. Form 1007-2.1

./]’ Creditors’ Matrix (see L.B.R, 1007~!2 and L.B.R. 1007-2App. for instructions),
Additional items due from ALL individual debtors: y

[l»]’§tatement About Your Social Security Numbers - Official Form 121

 

 

Chapter 7 individual debtors also must file:
[V]' Applicable Statements of Current Monthly Income and Means Test Calculation
Forms: Chapter 7 Statement of Your Current Monthly Income, Officiai Form
122A~1, Statement of Exemption from Presurnption of Abuse Under § 707(b)(2),
§)§i;ial*l~`onn 122A'ISupp, and/or Chapter 7 Means Test Calculation, Official
-2
[\/f Statement of Intention for Individuals Filing Under Chapter 7 , Officiai Form 108
(due thirty days post-petition) (the failure to comply with this statement and file
reaffirmation agreements or motions to redeem personal property that the debtor
does not intend to surrender has ramifications 45 days after the first scheduled
meeting of creditors under 11 U.S.C. § 362(h) of the Bankruptcy Code)
Chapter 11 individual debtors also must files
[ ] Chapter 11 Statement of Your Current Monthly Income, Officiai Form 122B
Chapter 13 individual debtors also must file:
[ ] Applicable Statements of Current Monthly Income and Calculation of Commitment
Period: Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period, Officiai Form 122C-1 and Chapter 13 Calculation of Your
Disposable Income, Official Form 122C~2*
[ ] Chapter 13 Plan, L.B. Form 3015.1.1

 

 

 

 

*The links for the updated Internal Revenue Service and Census Bureau Information that may be needed to
complete these forms can be reached from the web site: http://www.usdoj.gov/ust/.

 

Additional items due from chapter 11 debtors:

[ ] For lndividual Chapter ll Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims Against You and Are Not Insiders, Official Form 104

[ ] v Corporate Ownership Statement as required by Fed. R Bankr. P. 1007(a)(1) for
corporations, L.B. Form 1007-4.1.

[ ] List of Equity Interest Holders as required by Fed. R. Bankr. P. 1007(a)(3) for
corporations, `L.B. Form 1007~4.2.

[ ] Small business debtors must file the most recent 1) balance sheet, 2) statements of
operations, 3) cash-flow statement and 4) federal income tax retum; OR a verified
statement that those documents do not exist and have not been prepared or filed.

1 ] Disclosure Regarding Receivers Bankruptcy Form 1007~7.1.

Date: Printed name of party signing: Sign of attorney debtor without
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF COLORADO

NOTICE REGARD]NG E-MAIL NOTIFICATION FOR DEBTORS WITHOUT AN ATTORNEY AND
PARTIES WITHOUT A.N ATTORNEY

If you are not represented by an attorney and are a debtor or party in a bankruptcy case and you have an intemet
e~mall address, you can receive an electronic notice by e-mail whenever a filing is made in a case where you are
a debtor or party. Benetits of receiving such notices are:

' If your e-mail program supports viewing documents from hyper links and you have Adobe
Acrobat Reader installed, you may be able to view the document filed through a. hyperlink in the
e~mail notice. -

‘ ONLY ONE LOOK at the document is free, please view it where you can print it or download
it to a file to review later (any additional opening(s) of the document will require a PACER

account which may be obtained at the following web site: h_ttp;lpa_c_e_gps_c,us_gmg@) ‘

‘ ~ You will get immediate notiiication through e-mail when something is docketed in a case where
you are a party.

To sign up for e~rnail notification of filings made in a case where you are a debtor or party, provide the
information requested below and return this form to the address stated.

By submitting this Notice, you are consenting to receive all notices required to be sent to you by the
Bankruptcy Court by e-mail ONLY and you acknowledge and agree that such notices will NOT be sent
to you by regular mail. You must keep the court notified of any changes in your e-mail address, which
you may do by completing this form again and sending it to the court,

Please note.' you are nor allowed to file documents electronically with the Court or to communicate with the
court through e-mail or fax transmission (The only exceptions are our Court’s web based proof of claim
program for qualified creditors and the creditor mailing matrix program for debtors.)

Your name: H§p-/ip {/l. l:f\f+/'/`\ii’_-i ;`\/\

(oNLY oNE NAME AND E.MA'm Am)nnss PER 'FoRM)

Your case number or ease number where you are a party: y

Yourinternet e-mailaddress: \ll:t"°rfd l(/ l,`/WW lli,§ @/if"/L/l Lt\ ( . C¢‘?>F '2

   

The undersigned verifies that the information provided is acc ect under the penalty of pGIj\H'.Y?

 

 

Signature: - ` L/
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» Printed name: Méi C'/`/ l’ l£/Z`D/\
Return Completed form‘to: `
US Bankruptcy Court
721 19“ St.

Denver, CO 80202

VISIT OUR WEBSITE FOR MORE INFORMATION: http://www.cob.uscourts.gov

 

lIt is recommended that you download the document or print it out right away. lt is not
recommended to view the information on a smart phone.

 

